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                                                                                ATTACHMENT 1 (PAGE 1)
                                             CHAPTER 11
                                      MONTHLY OPERATING REPORT
                                   MONTHLY REPORTING QUESTIONNAIRE

CASE NAME: Curae Health, Inc.

CASE NUMBER: 18-05665

MONTH OF: September 2018


1.   Payroll   State the amount of all executive wages paid and taxes withheld and paid.

     Name and Title                              Wages Paid             Taxes_____
     of Executive                             Gross       Net         Due    Paid_


     Tim Brown, CFO                         $25,963    $20,098   $5,866    $5,866
     Sarah Moore, Secretary                 $6,924     $5,811    $1,133    $1,133
     Total Executive Payroll:               $32,887    $25,908   $6,979    $6,979




2. Insurance Is workers' compensation and other insurance in effect? Yes
Are payments current? Yes If any policy has lapsed, been replaced or renewed, state so in
the schedule below.   Attach a copy of the new policy's binder or cover page.



                                   Coverage              Expiration   Premium    Date
Type             Name of Carrier    Amount    Policy #      Date      Amounts   Pd. Thru

Casualty

Workers' comp.

General liab.

Vehicle

Other (specify):




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                                                             CHAPTER 11                                                   ATTACHMENT 1 (PAGE 2)
                                                       MONTHLY OPERATING REPORT
                                                    MONTHLY REPORTING QUESTIONNAIRE

CASE NAME: Curae Health, Inc.

CASE NUMBER: 18-05665

MONTH OF: September 2018


3.   Bank Accounts

Account Type                Operating      Operating         Payroll      Operating      Operating       Operating     Operating   Operating     Operating
Bank Name                  ServisFirst     ServisFirst     ServisFirst   ServisFirst     ServisFirst    ServisFirst     Regions   Wells Fargo   Wells Fargo
Account #                  1110192737     1110192760       1110192752    1110192745     1110251020      1110301726    0133108218 4313141970     4313141996
Beginning Book Balance   $ 1,276,653      $          26   $        386   $ 949,302     $       3,877    $ 14,800       $ 122,648 $    705,117   $        -
Deposits                 $      544,773   $        -      $        429   $       476   $            2   $      -       $     -                  $ 11,445,839
Disbursements            $ 7,530,407      $ 3,475,129     $      1,289   $       -     $          -     $        22    $     -                  $ 2,053,472
Transfers In (Out)       $ 7,089,233      $ 2,307,896     $        900   $       -     $          -     $      -       $     -   $ (401,971)    $ (9,392,367)
Ending Book Balance      $ 1,380,252      $ (1,167,207)   $        426   $ 949,778     $       3,879    $ 14,778       $ 122,648 $    303,146   $          (0)


4.   Postpetition Payments List any postpetition payments to professionals and payments on
     prepetition debts in the schedule below (attach separate sheet if necessary).

     Payments To/On                                                 Amount                 Date              Check #            Order Date

     Professionals (attorneys,
       accountants, etc.):

        N/A___________________________                                     __________           __________             __________       __________

        ___________________________                              __________            __________          __________           __________

     Prepetition debts:

        ___________________________                              __________            __________          __________           __________

        ___________________________                              __________            __________          __________           __________

        ___________________________                              __________            __________          __________           __________




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                                             MONTHLY OPERATING REPORT
                                           DETAILED LISTING OF RECEIPTS

CASE NAME: Curae Health, Inc.

CASE NUMBER: 18-05665

MONTH OF: September 2018


Account Number   Account Name       Date        Credit Amount     Debit Amount   Description                  Reference
   1110192737    CURAE-OPERATING    9/28/2018   $   194,250.00    $         -    Electronic Transfer Credit   Reimburse Corp Expenses
   1110192737    CURAE-OPERATING    9/24/2018   $   177,552.02    $         -    DEPOSIT                      Work Comp Audit & Misc Reimb
   1110192737    CURAE-OPERATING    9/21/2018   $      1,093.23   $         -    Wire Transfer Credit         CHS Wire - Patient A/R
   1110192737    CURAE-OPERATING    9/18/2018   $     83,397.43   $         -    ACH DEPOSIT                  Blue Cross Health Ins Rebate
   1110192737    CURAE-OPERATING    9/14/2018   $      1,436.11   $         -    Wire Transfer Credit         CHS Wire - Patient A/R
   1110192737    CURAE-OPERATING    9/12/2018   $     81,345.47   $         -    Electronic Transfer Credit   Reimburse Corp Expenses
   1110192737    CURAE-OPERATING    8/24/2018         $1,822.66                  Wire Transfer Credit         CHS Wire - Patient A/R
   1110192737    CURAE-OPERATING     9/7/2018   $      2,541.95   $        -     Wire Transfer Credit         CHS Wire - Patient A/R
   1110192737    CURAE-OPERATING     9/4/2018   $      1,334.33   $        -     Wire Transfer Credit         CHS Wire - Patient A/R
Total                                           $   544,773.20

 Account     Date    Description Amount
1110192752 9/14/2018 ACH DEPOSIT $ 429.22

  Account    Date    Description                Amount
1110192745 9/28/2018 INTEREST DEPOSIT           $ 210.75
1110192745 9/3/2018 INTEREST DEPOSIT            $ 265.32
Total                                           $ 476.07

Account Number      Account Name                  Date            Description          Amount
   4313141996       NW MS Operating Account        8/29/2018      BOOK TRANSFER CREDIT 2,045,839.00
   4313141996       NW MS Operating Account       2018/09/04      BOOK TRANSFER CREDIT 1,100,000.00
   4313141996       NW MS Operating Account       2018/09/07      BOOK TRANSFER CREDIT    650,000.00
   4313141996       NW MS Operating Account       2018/09/11      BOOK TRANSFER CREDIT 2,750,000.00
   4313141996       NW MS Operating Account       2018/09/14      BOOK TRANSFER CREDIT    600,000.00
   4313141996       NW MS Operating Account       2018/09/18      BOOK TRANSFER CREDIT    600,000.00
   4313141996       NW MS Operating Account       2018/09/20      BOOK TRANSFER CREDIT    500,000.00
   4313141996       NW MS Operating Account       2018/09/25      BOOK TRANSFER CREDIT 2,600,000.00
   4313141996       NW MS Operating Account       2018/09/28      BOOK TRANSFER CREDIT    600,000.00
       Total                                                                           11,445,839.00




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                                DETAILED LISTING OF DISBURSEMENTS

CASE NAME: Curae Health, Inc.

CASE NUMBER: 18-05665

MONTH OF: September 2018


BANK NAME: See Attached    ACCOUNT #:_______________________


Detail of Disbursements:

Note:   All disbursements are processed through the corporate accounts for all debtors.




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DATE        CHECK# PAID TO                             AMOUNT              Account: 1110192737
2018-09-04 ACH Merchant Fees - Credit Card Deposits    $            304.20
2018-09-05 ACH Blue Cross Insurance Claims             $        291,646.68
2018-09-05 ACH Afco                                    $        168,281.40
2018-09-05 ACH Charles Schwab - 401k                   $         99,372.20
2018-09-05 Wire Medtronic                              $         44,380.00
2018-09-05 Wire Fisher Scientific                      $          4,090.01
2018-09-05 Wire Ortho-Clinical                         $          3,638.16
2018-09-05 ACH Comcast                                 $              4.86
2018-09-05 7442 BMC OFFICE TECHNOLOGY                  $            533.18
2018-09-05 7443 MIDPARK KNOXVILLE, LLC                 $         20,720.74
2018-09-05 7444 DARLA NIPPER                           $          1,350.57
2018-09-05 7445 BRANDON ROBBINS                        $            462.25
2018-09-07 7447 STRATEGIC HEALTHCARE RESOURCES LLC     $         13,677.42
2018-09-05 WIRE LBMC Payroll                           $        250,547.77
2018-09-12 WIRE LBMC Payroll                           $      2,193,546.94
2018-09-12 7448 AQUAPURE WATER SYSTEMS, LLC            $             23.92
2018-09-12 7449 BRIGHTREE LLC                          $          4,348.00
2018-09-12 7450 CHANGE HEALTHCARE SOLUTIONS, L         $         13,003.83
2018-09-12 7451 CSC                                    $            456.00
2018-09-12 7452 COSMOS FACILITY SUPPORT, INC.          $            220.85
2018-09-12 7453 ONE DIVERSIFIED LLC                    $            275.88
2018-09-12 7454 ECLINICALWORKS LLC                     $         18,091.00
2018-09-12 7455 MAG MUTUAL INSURANCE COMPANY           $         22,613.75
2018-09-12 7456 MEDHOST DIRECT                         $         13,890.46
2018-09-12 7457 PGN TECHNOLOGIES, LLC                  $         10,081.54
2018-09-12 7458 PITNEY BOWES                           $            601.00
2018-09-12 7459 FLEXENTIAL                             $            196.13
2018-09-12 7460 RING CENTRAL                           $            977.55
2018-09-12 7461 THE SSI GROUP, LLC                     $         11,533.34
2018-09-12 7462 VAR TECHNOLOGY FINANCE                 $          3,512.63
2018-09-12 7463 YOURCAREUNIVERSE INC                   $          5,445.74
2018-09-14 7464 MISSISSIPI STATE DEPARTMENT OF         $            250.00
2018-09-13 ACH POLESTAR BENEFITS                       $         17,428.47
2018-09-11 ACH SUNTRUST MERCHANT FEES                  $             40.90
2018-09-11 WIRE STRYKER SUSTAINABILITY                 $          1,154.40
2018-09-11 ACH CHARLES SCHWAB                          $         31,409.52
2018-09-11 ACH BLUE CROSS OF TENNESSEE                 $        428,346.48
2018-09-19 WIRE LBMC Payroll                           $        119,243.53
2018-09-19 7465 COULTER & JUSTUS P.C.                  $             71.25
2018-09-19 7466 STEVE CRUISE                           $            400.00
2018-09-19 7467 CHCT MISSISSIPPI, LLC                  $         95,035.09
2018-09-19 7468 DELTA DENTAL OF TN                     $         39,712.19
2018-09-19 7469 FIDELITY SECURITY LIFE INSURAN         $         10,460.49
2018-09-19 7470 HS2 SOLUTIONS, INC.                    $            377.43
2018-09-19 7471 IN10SITY INTERACTIVE, LLC              $            570.00
2018-09-19 7472 KNOX-GRAPHICS                          $            177.00
2018-09-19 7473 STEVEN KYLE                            $            162.81
2018-09-19 7474 MUTUAL OF OMAHA                        $         66,910.04
2018-09-19 7475 MEDITRACT                              $            929.07
2018-09-19 7476 OMEGA TECHNOLOGY GROUP                 $         20,481.79
2018-09-19 7477 PGN TECHNOLOGIES, LLC                  $            687.61
2018-09-19 7478 SUN LIFE FINANCIAL                     $         19,280.19
2018-09-19 7479 THE SSI GROUP, LLC                     $            625.00
2018-09-21 ACH MS Department of Revenue                $            151.65
2018-09-21 ACH MS Department of Revenue                $            262.24
2018-09-21 ACH Intuitive                               $            588.50
2018-09-19 ACH Athena Health                           $         18,158.21
2018-09-18 Wire Stryker                                $            692.64
2018-09-18 ACH SBR DRAFT BLUE CROSS OF TNCCD           $         84,075.44
2018-09-18 ACH RTRMT PLANCHARLES SCHWAB                $        107,810.37
2018-09-17 Wire Johnson & Johnson                      $          3,969.00
2018-09-17 ACH TCFL 8043 TCF                           $          4,155.00
2018-09-17 Wire Medlin Industries                      $         65,000.00
2018-09-26 7480 AFCO                                   $        168,266.40
2018-09-26 7481 CENTURYLINK                            $             73.11
2018-09-26 7482 ECLINICALWORKS LLC                     $         18,096.92
2018-09-26 7483 FIRST CHOICE HEALTH PLAN OF MS         $            100.00
2018-09-26 7484 GENERAL INFORMATION SERVICES           $            219.30
2018-09-26 7485 HS2 SOLUTIONS, INC.                    $          1,650.00
2018-09-26 7486 IN10SITY INTERACTIVE, LLC              $            570.00
2018-09-26 7487 KRONOS                                 $          2,390.33
2018-09-26 7488 MEDHOST DIRECT                         $          2,520.00
2018-09-26 7489 MIDPARK KNOXVILLE, LLC                 $         20,720.74
2018-09-26 7490 MEDITRACT                              $          3,600.00
2018-09-26 7491 POLESTAR BENEFITS INC.                 $            608.30
2018-09-26 7492 RING CENTRAL                           $          3,787.99
2018-09-26 7493 BRANDON ROBBINS                        $            659.54
2018-09-26 7494 CHS DBA/SHARED SERVICES CENTER         $         19,179.43
      Wire Transfer Debit
2018-09-27           Wire Transfer Debit BioMerieux    $          1,769.20
2018-09-26
       ACH WITHDRAWALStryker CURAE HEALTH INCCCD       $          1,154.40
2018-09-26
       ACH WITHDRAWALRTRMT PLANCHARLES SCHWAB          $         27,764.89
2018-09-26
       ACH WITHDRAWALIntuitive CURAE HEALTH INCCCD     $         35,589.75
2018-09-25
       ACH WITHDRAWALSBR DRAFT BLUE CROSS OF TNCCD     $        172,719.03
2018-09-26 WIRE LBMC Payroll                           $      2,093,210.44
2018-08-29     7441 Tennessee Secretary of State       $         17,262.70
2018-08-31 ACH        Servis First                     $        113,301.09
2018-08-30 WIRE       Owens and Minor                  $        105,000.00
2018-08-31 WIRE       Medhost                          $        108,847.35
2018-08-30 WIRE       Johnson and Johnson              $         15,580.44
2018-08-30 WIRE       Medline                          $         60,000.00
2018-08-28 ACH        Servis First Credit Cards        $         15,590.55
2018-08-28 ACH        Blue Cross of Tn                 $        183,354.48
2018-09-28 ACH Bank Fees                               $            196.08
2018-08-31 ACH Bank Fees                               $            180.34

                  Total                                $       7,530,407.11

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DATE      CHECK#   PAID TO                          AMOUNT        Account: 1110192760
2018-09-05 61811   DR. MAHA WASEF                    $   1,229.10
2018-09-05 61814   DR. AMAN MUNIR                    $   2,568.31
2018-09-05 61813   MELISSA BURCHFIELD                $     208.75
2018-09-05 61815   JESICA DUNAVENT                   $     185.88
2018-09-06 61859   PHILIPS MEDICAL CAPITAL           $   1,481.55
2018-09-05 61808   VIKRAM BEEMIDI                    $     996.99
2018-09-06 61841   CHSPSC, LLC                       $ 25,619.65
2018-09-06 61842   CINTAS CORPORATION                $      70.58
2018-09-06 61847   HOSPITAL HOUSEKEEPING             $ 17,278.17
2018-09-06 61858   PATIENT SAFE SOLUTIONS INC        $   8,183.88
2018-09-06 61861   SERVICE MASTER BY MONTGOMERY      $      58.02
2018-09-06 61865   STERICYCLE INC                    $   3,146.08
2018-09-06 61873   HEALOGICS                         $   3,567.75
2018-09-07 61875   MEDHOST DIRECT INC                $     174.19
2018-09-07 61885   VERNESTINE HUMBERT                $     140.00
2018-09-07 61886   IRON MOUNTAIN MGMT                $     277.68
2018-09-06 13947   REPUBLIC SERVICES #869            $     621.31
2018-09-07 13955   MEDHOST DIRECT, INC               $     241.54
2018-09-07 13956   MEDHOST OF TN, INC                $ 11,973.89
2018-09-07 13959   YOURCARE UNIVERSE, INC            $   1,949.25
2018-09-07 13960   BECKWITH, AMANDA DO, PLLC         $   9,600.00
2018-09-07 13962   DAVIS, JESSE MD                   $     258.00
2018-09-07 13963   KASP CONSULTING, INC              $   5,757.36
2018-09-07 34047   MEDHOST DIRECT INC                $ 12,573.85
2018-09-07 34048   YOUR CARE UNIVERSE INC            $   1,949.25
2018-09-05 61812   LINDSAY ADAMS                     $     125.00
2018-09-05 61816   KATHERINE CARTER FLOWERS          $      42.91
2018-09-05 61818   KAY KIRKSEY                       $       8.95
2018-09-05 61822   LEE ANN MONTGOMERY                $   2,604.11
2018-09-06 61829   CITY OF MARKS                     $      30.00
2018-09-06 61832   NAVIENT                           $   1,041.66
2018-09-06 61855   NET HEALTH SYSTEMS INC            $     193.63
2018-09-06 61863   SOUND SOLUTIONS                   $      15.38
2018-09-06 61871   PHEAA US DEPT OF EDUCATION        $   1,041.67
2018-09-05 34018   ADAMS/FLOYD MIKE                  $     484.28
2018-09-05 34022   BRYANT/LORIE M                    $     225.32
2018-09-05 34028   GODI M.D./ZHEAR                   $   1,943.24
2018-09-05 34029   HEDRICK                           $      14.77
2018-09-05 34031   LANN, REGINA                      $     367.80
2018-09-05 34032   MAXWELL, JAMES DAVID              $      67.85
2018-09-05 34035   MOORE, KIMBERLY                   $     370.34
2018-09-05 34037   NOLAN, LEAH                       $     211.95
2018-09-05 34038   PRESNALL/SONYA                    $     163.00
2018-09-06 13946   RACK, MICHAEL MD                  $     997.00
2018-09-06 13948   RUSSELL, JODI                     $     555.86
2018-09-06 13951   VAN EVERY, KYMBERLY               $     125.00
2018-09-06 13952   WARE, CHRIS                       $      37.72
2018-09-06 13939   AT&T                              $     177.98
2018-09-06 13940   AT&T                              $     123.60
2018-09-06 13941   AT&T                              $     582.49
2018-09-04 61807   DR. RICHARD BROWNSTEIN            $ 12,134.00
2018-09-06 61830   GEORGIA TELE-PHYSICIANS           $     275.40
2018-09-06 61853   MISSISSIPPI EMERGENCY             $ 64,274.19
2018-09-07 61876   DR G D BERRYHILL JR               $      39.05
2018-09-07 61877   DR. RICHARD BROWNSTEIN            $   9,640.00
2018-09-07 61879   DR FASEEH M HADIDI                $   1,800.00
2018-09-07 61891   MISSISSIPPI EMERGENCY             $ 51,089.67
2018-09-04 34011   ANESTHESIA ASSOC OF MS PLLC       $ 19,842.75
2018-09-05 34036   MS EMERGENCY PHYS SRV LLC         $ 23,214.69
2018-09-06 13945   MISSISSIPPI EMERGENCY PHYS        $ 57,941.67
2018-09-06 13953   WINTHROP RESOURCES CORPORATION    $   6,908.91
2018-09-06 61831   LAKEVIEW PROPERTIES, LLC          $     821.23
2018-09-06 61833   QUITMAN COUNTY TAX COLLECT        $   1,914.07
2018-09-06 61843   CLARKSDALE COUNTRY CLUB AP        $     659.30
2018-09-06 61845   GE HEALTHCARE FINANCIAL SE        $     390.17
2018-09-06 61848   LEASING ASSOCIATES OF BARR        $   4,317.12
2018-09-06 61849   MAILFINANCE INC                   $     553.72
2018-09-06 61864   SOUTHERN DUPLICATING              $   1,632.08
2018-09-06 61868   STRYKER FLEX FINANCIAL            $     249.01
2018-09-06 13942   BRENTWOOD BEHAVIORAL HEALTHCAR    $ 69,919.35
2018-09-06 13944   LEASING ASSOCIATES OF BARRINGT    $   2,906.61
2018-09-06 61834   AESYNT INC                        $     285.44
2018-09-06 61835   AIMSOFT, LLC                      $      45.20
2018-09-06 61844   GE HEALTHCARE                     $   2,176.51
2018-09-06 61846   GNXCOR, INC                       $      64.60
2018-09-06 61856   OLYMPUS AMERICA INC               $   1,139.25
2018-09-06 61862   SIEMENS MEDICAL SOLUTIONS         $   2,312.99
2018-09-06 61866   STERIS CORPORATION INC            $     912.37
2018-09-06 61867   STRYKER ENDO                      $   1,254.06
2018-09-06 61870   THE STERITECH GROUP INC           $     131.03
2018-09-06 61872   WOLTERS KLUWER HEALTH, INC        $     456.24
2018-09-07 34049   C AND D LUMBER CO                 $      50.69
2018-09-07 34050   EDDIE WILEMON                     $     173.00
2018-09-06 13943   CARRIER COMMERCIAL SYSTEMS AND    $   1,847.26
2018-09-06 13949   THYSSENKRUPP ELEVATOR CORP.       $   2,127.61
2018-09-06 13950   TRIPLE POINT INDUSTRIES           $     132.13
2018-09-06 61840   CARRIER COMMERCIAL SYSTEMS        $   2,490.07
2018-09-06 61852   MID-SOUTH MEDICAL IMAGING         $   7,016.18
2018-09-06 61857   OTIS ELEVATOR                     $ 55,158.14
2018-09-05 61824   ORTHO-CLINICAL DIAGNOSTICS        $     667.56
2018-08-21 34002   WPS GHA                           $ 257,647.00
2018-08-21 34001   MEDICAID MS                       $ 25,271.64
2018-08-31 13936   Baxter Healthcare Corp            $     944.09
2018-08-31 13937   Teresa Collins                    $     800.00
2018-08-31 13938   Marshall County Chancery Clerk    $     370.00
2018-08-29 34005   Stryker Orthopaedics              $   9,242.14
2018-08-29 34006   Lann Chemical & Supply Co         $     765.20

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2018-08-31 34007   Cockrell Banana Co               $      293.82
2018-08-31 34008   Cross Creek Properties LLC       $    6,793.55
2018-08-31 34009   Itawamba County Board            $    2,516.13
2018-08-31 34010   Star Printing Co                 $      665.00
2018-09-05 61825   PDC HEALTHCARE                   $      718.96
2018-09-06 61836   ALSCO, INC                       $      263.02
2018-09-06 61851   MCCARTNEY PRODUCE LLC            $      443.02
2018-09-06 61854   MURPHEY BEVERAGE                 $       28.53
2018-09-06 61860   PRAIRIE FARMS DAIRY              $       69.69
2018-09-06 61869   SYMMETRY SURGICAL                $      232.96
2018-09-07 61882   CLINICAL INNOVATIONS             $      140.00
2018-09-07 61884   FISHER SCIENTIFIC                $    3,500.00
2018-09-07 61887   LAMPARD'S WHOLESALE MEATS        $      211.96
2018-09-07 61888   MEDELA                           $      672.72
2018-09-07 61889   MEDTRONIC USA                    $   23,340.00
2018-09-07 61890   MICROLINE SURGICAL               $    2,260.00
2018-09-07 61893   MURPHEY BEVERAGE                 $      199.00
2018-09-07 61899   TELEFLEX MEDICAL                 $       92.28
2018-09-04 34013   BECKMAN COULTER INC              $    1,062.60
2018-09-04 34014   CARDINAL HEALTH INCORPORATED     $      146.31
2018-09-04 34015   JOHNSON AND JOHNSON HEALTHCARE   $      224.10
2018-09-04 34016   MEDIVATORS INC                   $      600.00
2018-09-04 34017   OLYMPUS SURGICAL TECHNOLOGIES    $   13,409.62
2018-09-05 34019   APPLIED MEDICAL RESOURCES CORP   $    4,380.00
2018-09-05 34020   BECKMAN COULTER INC              $    5,105.73
2018-09-05 34021   BIOMERIEUX MO                    $      482.00
2018-09-05 34025   COCKRELL BANANA CO               $      246.52
2018-09-05 34026   COMPREHENSIVE HOSP OF MS,LLC     $   22,832.26
2018-09-05 34027   FISHER SCIENTIFIC HEALTHCARE     $      700.00
2018-09-05 34030   HOSPIRA WORLDWIDE INC            $    2,328.52
2018-09-05 34039   RJ YOUNG COMPANY INC             $      126.88
2018-09-06 34042   CARDINAL HEALTH INCORPORATED     $      989.92
2018-09-06 34043   JOHNSON AND JOHNSON HEALTHCARE   $    6,360.28
2018-09-06 34045   STERIS CORPORATION INC 1 *       $      370.56
2018-09-06 34046   STRYKER ORTHOPAEDICS             $    9,614.27
2018-09-07 34051   JOHNSON AND JOHNSON HEALTHCARE   $    1,186.75
2018-09-07 ACH     BAYER RADIOLOGY                  $    2,755.20
2018-09-07 13954   BAXTER HEALTHCARE CORP           $    1,233.07
2018-09-07 13957   RJ YOUNG COMPANY                 $      764.50
2018-09-07 13958   SIEMENS HEALTHCARE DIAGNOSTICS   $      472.97
2018-09-07 13965   MEDLINE INDUSTRIES INC           $    7,423.34
2018-09-06 61839   CARDINAL HEALTH INC              $      162.72
2018-09-07 13961   BENCO DENTAL SUPPLY              $    3,432.93
2018-09-05 61809   DR. KENDRIX EVANS                $       50.00
2018-09-05 61810   DEVASHA PATTERSON                $      170.00
2018-09-05 61817   LESSIE KENT                      $       92.72
2018-09-05 61819   JENNIFER LEVINGSTON              $      356.78
2018-09-05 61820   AKUA MCKINNEY                    $       85.00
2018-09-05 61821   LAURIE MONTEITH                  $       75.00
2018-09-05 61823   TIM MOORE                        $      150.00
2018-09-05 61826   SUSAN PRATHER, FNP               $      105.00
2018-09-05 61827   SHARON REYNOLDS                  $       45.95
2018-09-05 61828   JENNIFER TODD                    $       85.00
2018-09-06 61837   BELLSOUTH AT&T                   $    6,535.47
2018-09-06 61838   CABLEONE                         $      208.24
2018-09-06 61850   MAXXSOUTH BROADBANKD             $      236.95
2018-09-06 61874   BELLSOUTH AT&T                   $    6,531.80
2018-09-07 61878   COAHOMA ELECTRIC POWER ASS       $       29.41
2018-09-07 61880   BELLSOUTH AT&T                   $      253.31
2018-09-07 61881   CABLEONE                         $    2,198.16
2018-09-07 61883   DR. AMAN MUNIR                   $      105.00
2018-09-07 61892   LAURIE MONTEITH                  $       75.00
2018-09-07 61894   SHARON REYNOLDS                  $       50.00
2018-09-07 61895   SAYLE OIL COMPANY                $       62.80
2018-09-07 61896   TERESA SCOGGINS                  $       50.00
2018-09-07 61897   DIANE STUBBS                     $       50.00
2018-09-07 61898   TEC                              $       69.81
2018-09-05 34023   CHISM/JEFFERY                    $       85.00
2018-09-05 34024   CLEMENT/DAPHNE                   $       85.00
2018-09-05 34033   MCCRORY/MELINDA                  $       50.00
2018-09-05 34034   MIZE/BERT                        $       50.00
2018-09-05 34040   TYRA/ALLEN                       $      180.07
2018-09-05 34041   WOODS/CHRIS                      $       85.00
2018-09-06 34044   PRECISION COMMUNICATION          $      750.00
2018-09-10 34052   AESYNT INC                       $      543.44
2018-09-10 34053   AMORY SURGERY CLINIC             $    4,000.00
2018-09-10 34054   AT&T                             $    1,395.42
2018-09-10 34055   AT&T MOBILITY                    $      661.55
2018-09-10 34056   ATMOS ENERGY                     $        6.29
2018-09-10 34057   BECKMAN COULTER INC              $    1,601.84
2018-09-10 34058   BLAYLOCK/MICHELLE                $       55.00
2018-09-10 34059   BUGS-B-GONE INC                  $       37.45
2018-09-10 34060   CANON FINANCIAL SERVICES INC     $    1,134.93
2018-09-10 34061   CARDINAL HEALTH PHARMACY #3268   $    9,043.06
2018-09-10 34062   CLARK BEVERAGE GROUP INC         $      213.72
2018-09-10 34063   COMMUNITY COFFEE LLC             $      653.97
2018-09-10 34064   COREY PONDER LAWN CARE           $       50.00
2018-09-10 34065   CRYSTAL SPRINGS WATER OF MS      $        5.76
2018-09-10 34066   FLOWERS BAKING CO OF BHAM        $       79.27
2018-09-10 34067   FOOD GIANT #269                  $       64.39
2018-09-10 34068   FOOD SERVICE RESOURCES           $      308.61
2018-09-10 34069   GE HEALTHCARE                    $      538.61
2018-09-10 34070   HAMILTON WATER DISTRICT          $        5.39
2018-09-10 34071   HARRIS, MATTHEW                  $      599.00
2018-09-10 34072   HOSPIRA WORLDWIDE INC            $      896.38
2018-09-10 34073   JOHNSON AND JOHNSON HEALTHCARE   $      936.26
2018-09-10 34074   LYON & COMPANY INC               $       10.64
2018-09-10 34075   MAXXSOUTH BROADBAND              $    1,543.15
2018-09-10 34076   MED IMAGING LLC                  $    5,148.40
2018-09-10 34077   MERIDETH/DON JR                  $      180.64

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2018-09-10   34078   MILLER/OLIVER                    $      258.08
2018-09-10   34079   MONROE COUNTY SOLID WASTE        $        6.72
2018-09-10   34080   MS STATE DEPT OF HEALTH          $    2,000.00
2018-09-10   34081   OLYMPUS SURGICAL TECHNOLOGIES    $    2,253.81
2018-09-10   34082   PEPSI BEVERAGE COM               $      567.92
2018-09-10   34083   PHILIPS HEALTHCARE               $    8,462.84
2018-09-10   34084   PHILIPS MEDICAL CAPITAL          $    2,475.66
2018-09-10   34085   PRAIRIE FARMS                    $       72.52
2018-09-10   34086   PRESNALL/SONYA                   $       50.00
2018-09-10   34087   RJ YOUNG COMPANY INC             $      374.64
2018-09-10   34088   SHRED-IT USA INC                 $      341.10
2018-09-10   34089   SIEMENS INDUSTRY INC - MS        $    4,091.77
2018-09-10   34090   SPECIALCARE CORP                 $    6,065.00
2018-09-10   34091   STRYKER ENDOSCOPY                $    1,187.60
2018-09-10   34092   STRYKER FLEX FINANCIAL           $      370.24
2018-09-10   34093   TYRA/ALLEN                       $      354.00
2018-09-10   34094   ULTRALINQ HEALTHCARE SOLUTIONS   $      139.50
2018-09-10   34095   VAR TECHNOLOGY FINANCE           $      906.40
2018-09-10   34096   VIRTUAL RADIOLOGIC CORPORATION   $    2,322.56
2018-09-10   34097   WASTE CONNECTIONS OF MS          $      403.28
2018-09-10   34098   WINTHROP RESOURCES CORP          Void
2018-09-10   34099   WOLTERS KLUWER                   $      262.40
2018-09-10   34100   XEROX CORPORATION INC            $       49.20
2018-09-11   34101   BECKMAN COULTER INC              $    1,915.25
2018-09-11   34102   CARDINAL HEALTH INCORPORATED     $    2,810.14
2018-09-11   34103   CARDINAL HEALTH PHARMACY #3268   $    1,912.97
2018-09-11   34104   COVIDIEN SALES LLC DBA GIVEN I   $    1,400.24
2018-09-12   34105   ADAMS/FLOYD MIKE                 $      303.03
2018-09-12   34106   AMORY HIGH SCHOOL                $    1,000.00
2018-09-12   34107   BOSTON SCIENTIFIC CORPORATION    $      906.00
2018-09-12   34108   BRYANT/LORIE M                   $       42.80
2018-09-12   34109   CARDINAL HEALTH PHARMACY #3268   $ 27,661.57
2018-09-12   34110   CLARK BEVERAGE GROUP INC         $      180.84
2018-09-12   34111   COMPHEALTH ASSOCIATES, INC.      $ 12,380.00
2018-09-12   34112   COOK MEDICAL INCORPORATED        $      435.00
2018-09-12   34113   COVIDIEN                         $      426.50
2018-09-12   34114   FLOWERS BAKING CO OF BHAM        $       74.60
2018-09-12   34115   FOOD GIANT #269                  $        8.45
2018-09-12   34116   FULTON TELEPHONE CO              $      527.14
2018-09-12   34117   INTUITIVE SURGICAL INC           $    3,120.00
2018-09-12   34118   JOHNSON AND JOHNSON HEALTHCARE   $    7,774.17
2018-09-12   34119   JUNIOR AUXILARY OF AMORY         $      750.00
2018-09-12   34120   KCI USA                          $      327.94
2018-09-12   34121   LANN CHEMICAL & SUPPLY CO        $      309.60
2018-09-12   34122   MAXXSOUTH BROADBAND              $    3,566.18
2018-09-12   34123   MCCRORY/MELINDA                  $       50.00
2018-09-12   34124   MEDHOST DIRECT INC               $ 38,559.93
2018-09-12   34125   MEMORIES UNLIMITED               $      143.86
2018-09-12   34126   MERIDETH/DON JR                  $      700.00
2018-09-12   34127   MIMEDX GROUP INC                 $    1,195.00
2018-09-12   34128   MIZE/BERT                        $       50.00
2018-09-12   34129   MONROE COUNTY TAX COLLECTOR      $       30.00
2018-09-12   34130   MONROE COUNTY CHAMBER OF COMME   $      175.00
2018-09-12   34131   MS EMERGENCY PHYS SRV LLC        $ 89,956.92
2018-09-12   34132   NATUS MEDICAL INC                $      495.00
2018-09-12   34133   OLYMPUS SURGICAL TECHNOLOGIES    $    5,350.00
2018-09-12   34134   PHILIPS HEALTHCARE               $    6,762.00
2018-09-12   34135   PRAIRIE FARMS                    $       67.90
2018-09-12   34136   SPRINT PRINT                     $       39.00
2018-09-12   34137   VAR TECHNOLOGY FINANCE           $    3,512.32
2018-09-12   34138   W L GORE AND ASSOCIATES INC      $      488.00
2018-09-12   34139   WERFEN USA LLC                   $    2,364.66
2018-09-12   34140   WINTHROP RESOURCES CORP          $    8,734.76
2018-09-12   34141   XEROX FINANCIAL SERVICES         $      819.06
2018-09-12   34142   YOUR CARE UNIVERSE INC           $ 10,573.68
2018-09-13   34143   APPLIED MEDICAL RESOURCES CORP   $    5,010.00
2018-09-13   34144   B & H TREE SERVICE               $    8,700.00
2018-09-13   34145   BABY-FRIENDLY USA INC            $    3,462.12
2018-09-13   34146   BUGS-B-GONE INC                  $      654.90
2018-09-13   34147   CLARK BEVERAGE GROUP INC         $      156.18
2018-09-13   34148   CLIA LABORATORY PROGRAM          $      150.00
2018-09-13   34149   COMCAST CABLE                    $       23.88
2018-09-13   34150   DATAWATCH CORP                   $       34.32
2018-09-13   34151   DIRECTV                          $       19.60
2018-09-13   34152   DUDE SOLUTIONS INC               $    4,371.91
2018-09-13   34153   FEDEX                            $       38.57
2018-09-13   34154   FLOWERS BAKING CO OF BHAM        $       63.80
2018-09-13   34155   FOOD GIANT #269                  $       23.96
2018-09-13   34156   JOHNSON AND JOHNSON HEALTHCARE   $    4,502.02
2018-09-13   34157   LEWIS MD/JAMES                   $      995.00
2018-09-13   34158   MAXXSOUTH BROADBAND              $      933.49
2018-09-13   34159   MOTIONSOFT INC                   $      102.96
2018-09-13   34160   NORTHFIELD MEDICAL LLC           $      700.88
2018-09-13   34161   OLYMPUS SURGICAL TECHNOLOGIES    $    1,596.50
2018-09-13   34162   ROBBINS, MISTY                   $       60.00
2018-09-13   34163   STERICYCLE                       $      610.56
2018-09-13   34164   STERITECH GROUP                  $       10.48
2018-09-13   34165   TELE-PHYSICIANS PC               $      273.76
2018-09-13   34166   VITAL CARE INDUSTRIES INC        $      117.79
2018-09-13   34167   WALKER-J-WALKER                  $    4,500.50
2018-09-13   34168   WILLIAMS TRANSFER AND STORAGE    $       64.48
2018-09-13   34169   XEROX CORPORATION INC            $        9.44
2018-09-14   34170   AT&T                             $    4,367.95
2018-09-14   34171   CITY OF AMORY TAX COLLECTOR      $      320.00
2018-09-14   34172   CLEMENT/DAPHNE                   $      334.73
2018-09-14   34173   COCKRELL BANANA CO               $      319.96
2018-09-14   34174   COMCAST CABLE                    $       33.60
2018-09-14   34175   COMMUNITY COFFEE LLC             $      533.07
2018-09-14   34176   COMPHEALTH ASSOCIATES, INC.      $      426.50
2018-09-14   34177   DENTSPLY SIRONA                  $      133.85

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2018-09-14   34178    DIRECTV                          $       75.24
2018-09-14   34179    FEDEX                            $       98.71
2018-09-14   34180    JOHNSON AND JOHNSON HEALTHCARE   $    2,206.41
2018-09-14   34181    LANN CHEMICAL & SUPPLY CO        $      980.00
2018-09-14   34182    MATTOX FEED MILL INC             $       25.81
2018-09-14   34183    OLYMPUS SURGICAL TECHNOLOGIES    $    2,270.20
2018-09-14   34184    PEPSI BEVERAGE COM               $      323.86
2018-09-14   34185    PRAIRIE FARMS                    $       97.55
2018-09-14   34186    STRYKER ORTHOPAEDICS             $      505.16
2018-09-14   34187    XEROX CORPORATION INC            $      246.48
2018-09-13    ACH     PAYMENT SYSCO MEMPHIS, L         $    1,812.82
2018-09-11    ACH     PAYMENT SYSCO MEMPHIS, L         $    7,689.07
2018-09-11    ACH     PAYMENT SYSCO MEMPHIS, L         $      (76.32)
2018-09-10   13966    STAPLES ADVANTAGE                $      645.97
2018-09-11   13967    COAHOMA COUNTY CHANCERY CLERK    $      138.00
2018-09-12   13968    BENCO DENTAL SUPPLY              $    2,369.90
2018-09-12   13969    MEDHOST DIRECT, INC              $   13,786.00
2018-09-12   13970    MEDHOST OF TN, INC               $   24,599.75
2018-09-12   13971    SIEMENS HEALTHCARE DIAGNOSTICS   $      105.00
2018-09-12   13972    YOURCARE UNIVERSE, INC           $   10,083.68
2018-09-14   13973    ANDERSON, MICHAEL MD             $    4,359.48
2018-09-14   13974    ASSISTED TRANSPORTATION SYSTEM   $    9,300.00
2018-09-14   13975    BAXTER HEALTHCARE CORP           $      361.32
2018-09-14   13976    BIMBO BAKERIES USA               $      104.38
2018-09-14   13977    CABLE ONE                        $    3,075.91
2018-09-14   13978    CARDINAL HEALTH 110, LLC         $   13,023.84
2018-09-14   13979    COCA-COLA                        $      253.30
2018-09-14   13980    COCHRAN, EMILY                   $       24.13
2018-09-14   13981    COLLINS, TERESA                  $      800.00
2018-09-14   13982    CROWN HEALTH CARE LAUNDRY        $    2,395.29
2018-09-14   13983    DAVIS, JESSE MD                  $      741.98
2018-09-14   13984    DJO LLC                          $       17.30
2018-09-14   13985    ECOLAB FOOD SAFETY SPECIALTIES   $      226.55
2018-09-14   13986    FEDEX                            $       37.91
2018-09-14   13987    FISHER SCIENTIFIC HEALTHCARE     $      548.60
2018-09-14   13988    MASSEY, JONATHAN MD              $   10,000.00
2018-09-14   13989    NAVIENT - DEPARTMENT OF EDUCAT   $      416.67
2018-09-14   13990    OLYMPUS AMERICA, INC             $      103.50
2018-09-14   13991    PANOLA SPEECH THERAPY, LLC       $      353.60
2018-09-14   13992    PHILIPS RESPIRONICS              $    3,000.00
2018-09-14   13993    PITNEY BOWES                     $    1,500.00
2018-09-14   13994    PRAIRIE FARMS DAIRY, INC         $       74.10
2018-09-14   13995    PYCES ITS, LLC                   $    1,078.00
2018-09-14   13996    REPUBLIC SERVICES #869           $    1,911.78
2018-09-14   13997    SMILEMAKERS                      $      186.92
2018-09-14   13998    STERICYCLE, INC.                 $       84.66
2018-09-14   13999    SUNRISE PRODUCE                  $      442.25
2018-09-14   14000    SWINDLE, LEIGH                   $       55.00
2018-09-14   14001    SYSCO MEMPHIS, LLC               $    3,675.05
2018-09-14   14002    TACY MEDICAL                     $       37.00
2018-09-14   14003    TRIANIM HEALTH SERVICES INC 1    $       90.00
2018-09-14   14004    TRIPLE POINT INDUSTRIES          $      415.00
2018-09-14   14005    WILBANKS, VICTORIA               $      971.00
2018-09-14   14006    WINTERS, BECKY                   $      365.00
2018-09-14   14007    BAXTER HEALTHCARE CORP           $    1,473.40
2018-09-14   14008    OLYMPUS AMERICA, INC             $      374.12
2018-09-13    ACH     PAYMENT SYSCO MEMPHIS, L         $    3,651.19
2018-09-11    ACH     PAYMENT SYSCO MEMPHIS, L         $    3,451.96
2018-09-10    ACH     PAYMENT SYSCO MEMPHIS, L         $    2,314.61
2018-09-12   70000    SOUTHERN/JOEL                    $      422.56
2018-09-12   70001    AIMSOFT, LLC                     $      175.00
2018-09-12   70002    AT & T/BELLSOUTH                 $    1,301.48
2018-09-12   70003    CABLEONE                         $      248.38
2018-09-12   70004    CHEMTREAT INC                    $    1,503.80
2018-09-12   70005    CITY OF CLARKSDALE               $      125.00
2018-09-12   70006    GNXCOR INC                       $    3,349.76
2018-09-12   70007    HOSPITAL HOUSEKEEPING            $   66,952.65
2018-09-12   70008    JACKSON & COKER LOCUM TENENS,    $   18,450.00
2018-09-12   70009    LIFE LINK                        $    1,795.00
2018-09-12   70010    MEDIVATORS                       $    4,359.68
2018-09-12   70011    MID SOUTH WASTE DISPOSAL INC     $    1,054.20
2018-09-12   70012    MITCHELL/DIANNE                  $      252.82
2018-09-12   70013    MONTGOMERY/LEE ANNE              $      120.00
2018-09-12   70014    MURPHEY BEVERAGE                 $       80.59
2018-09-12   70015    NELSON M.D./HUNTER BEN           $      456.52
2018-09-12   70016    PETTY CASH FOR DEPORRES CENTE    $       43.07
2018-09-12   70017    PHILIPS MEDICAL CAPITAL          $    1,949.55
2018-09-12   70018    POSTMASTER                       $      200.00
2018-09-12   70019    PRATHER, FNP/SUSAN               $    2,500.00
2018-09-12   70020    RUSH III/CLEAVEN                 $       75.00
2018-09-12   70021    SMITH/DR ANDREA                  $      750.30
2018-09-12   70022    SMITH/MICHAEL W                  $       87.10
2018-09-12   70023    TRIMM/RILEY                      $    1,000.00
2018-09-12   70024    WILLIAMS/EARNESTINE PARKER       $      105.00
2018-09-13   70025    MONTGOMERY/LEE ANNE              $      628.53
2018-09-14    ACH     PAYMENT SYSCO MEMPHIS, L         $    2,715.26
2018-09-11    ACH     PAYMENT SYSCO MEMPHIS, L         $    3,900.77
2018-09-10    ACH     PAYMENT SYSCO MEMPHIS, L         $    3,440.76
2018-09-10   61900    Cardinal Health 110              $   30,015.87
2018-09-10   61901    Biomerieux                       $    1,930.08
2018-09-10   61902    Medhost                          $   48,821.71
2018-09-17    34188   APPLIED MEDICAL RESOURCES CORP   $    1,050.00
2018-09-17    34189   BECKMAN COULTER INC              $    6,207.20
2018-09-17    34190   BOSTON SCIENTIFIC CORPORATION    $    2,492.40
2018-09-17    34191   CARDINAL HEALTH INCORPORATED     $      382.04
2018-09-17    34192   CAREFUSION 211 INC               $      152.77
2018-09-17    34193   CLIA LABORATORY PROGRAM          $    6,649.00
2018-09-17    34194   COOPER SURGICAL                  $      215.00
2018-09-17    34195   CR BARD INCORPORATED *           $      372.72
2018-09-17    34196   HOSPIRA WORLDWIDE INC            $      838.68

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2018-09-17 34197   JOHNSON AND JOHNSON HEALTHCARE   $    2,206.41
2018-09-17 34199   MODERNIZING MEDICINE             $    1,662.07
2018-09-17 34200   MONROE COUNTY CO OP              $      150.00
2018-09-17 34201   MONROE COUNTY ELECTRIC POWER     $      256.95
2018-09-17 34202   MONROE COUNTY TAX COLLECTOR      $       24.96
2018-09-17 34203   MS STATE DEPT OF HEALTH          $    2,465.00
2018-09-17 34204   OLYMPUS SURGICAL TECHNOLOGIES    $      240.00
2018-09-17 34205   STRYKER INSTRUMENTS              $      659.88
2018-09-18 34206   APPLIED MEDICAL RESOURCES CORP   $      540.00
2018-09-18 34207   BECKMAN COULTER INC              $      688.60
2018-09-18 34208   CARDINAL HEALTH INCORPORATED     $    1,636.55
2018-09-18 34209   FISHER SCIENTIFIC HEALTHCARE     $    2,569.47
2018-09-18 34210   HALYARD HEALTH INC               $    1,049.60
2018-09-18 34211   HOSPIRA WORLDWIDE INC            $       20.99
2018-09-18 34212   INTUITIVE SURGICAL INC           $      200.00
2018-09-18 34213   JOHNSON AND JOHNSON HEALTHCARE   $       73.20
2018-09-18 34214   MONROE COUNTY CO OP              $       40.00
2018-09-18 34215   MS BLOOD SERVICES INC            $    9,761.00
2018-09-18 34216   OLYMPUS AMERICA INC              $    2,915.00
2018-09-18 34217   SMITHS MEDICAL ASD INC           $      309.93
2018-09-19 34218   ABBOTT LABORATORIES INC          $    3,340.62
2018-09-19 34219   ADAMS/FLOYD MIKE                 $      117.66
2018-09-19 34220   AIRGAS                           $       52.22
2018-09-19 34221   AMORY WATER AND ELECTRIC         $   25,126.40
2018-09-19 34222   APPLIED MEDICAL RESOURCES CORP   $    1,470.00
2018-09-19 34223   AT&T                             $      318.78
2018-09-19 34224   AT&T                             $      195.34
2018-09-19 34225   ATMOS ENERGY                     $    2,130.56
2018-09-19 34226   BECKMAN COULTER INC              $    9,137.47
2018-09-19 34227   BEST PLUMBING SPECIALTES         $       42.24
2018-09-19 34228   BIOMERIEUX MO                    $    1,329.20
2018-09-19 34229   BOSTON SCIENTIFIC CORPORATION    $    2,635.26
2018-09-19 34230   CARDINAL HEALTH INCORPORATED     $    1,263.43
2018-09-19 34231   CARDINAL HEALTH PHARMACY #3268   $   13,445.13
2018-09-19 34232   CHISM/JEFFERY                    $       42.50
2018-09-19 34233   CLARK BEVERAGE GROUP INC         $      197.28
2018-09-19 34234   CLEMENT/DAPHNE                   $       42.50
2018-09-19 34235   COCKRELL BANANA CO               $      353.05
2018-09-19 34236   COOK MEDICAL INCORPORATED        $      435.00
2018-09-19 34237   COOPER SURGICAL                  $      215.00
2018-09-19 34238   COVIDIEN                         $    4,422.90
2018-09-19 34239   CR BARD INCORPORATED *           $      347.40
2018-09-19 34240   DRAGER MEDICAL INC               $      103.90
2018-09-19 34241   ECOLAB INC                       $       70.28
2018-09-19 34242   FISHER SCIENTIFIC HEALTHCARE     $    1,365.30
2018-09-19 34243   FLOWERS BAKING CO OF BHAM        $       63.15
2018-09-19 34244   GI SUPPLY                        $      729.75
2018-09-19 34245   HOSPIRA WORLDWIDE INC            $      719.25
2018-09-19 34246   HUBERT COMPANY, LLC              $       89.94
2018-09-19 34247   IMMUCOR INC                      $      675.14
2018-09-19 34248   INTUITIVE SURGICAL INC           $    1,009.95
2018-09-19 34249   JOHNSON AND JOHNSON HEALTHCARE   $      683.52
2018-09-19 34250   LANN CHEMICAL & SUPPLY CO        $      347.38
2018-09-19 34251   LARRY CLARK CHEVY OLDS CADDILL   $       31.49
2018-09-19 34253   MICROTEK MEDICAL                 $      598.14
2018-09-19 34254   MIMEDX GROUP INC                 $    1,195.00
2018-09-19 34255   MONROE COUNTY CO OP              $      152.00
2018-09-19 34256   OLYMPUS AMERICA INC              $   14,390.00
2018-09-19 34257   OWENS AND MINOR                  $    6,270.23
2018-09-19 34258   STRYKER INSTRUMENTS              $    1,841.46
2018-09-19 34259   STRYKER ORTHOPAEDICS             $   14,513.90
2018-09-19 34260   STRYKER SUSTAINABILITY SOLUTIO   $      928.64
2018-09-19 34261   TOMBIGBEE ELECTRIC POWER ASSOC   $      131.58
2018-09-19 34262   VERATHON MEDICAL                 $      500.00
2018-09-19 34263   WOODS/CHRIS                      $       42.50
2018-09-20 34264   BECKMAN COULTER INC              $    4,493.78
2018-09-20 34265   CARDINAL HEALTH INCORPORATED     $    1,445.21
2018-09-20 34266   FISHER SCIENTIFIC HEALTHCARE     $    1,750.00
2018-09-20 34267   FOWLKES PLUMBING                 $      539.00
2018-09-20 34268   IMMUCOR INC                      $    1,414.77
2018-09-20 34269   MEDIVATORS INC                   $      900.00
2018-09-20 34270   TECH SYSTEMS INC                 $    9,866.88
2018-09-21 34271   BOSTON SCIENTIFIC CORPORATION    $      178.97
2018-09-21 34272   CONMED CORPORATION               $      600.00
2018-09-21 34273   EDDIE WILEMON                    $      110.00
2018-09-21 34275   JOHNSON AND JOHNSON HEALTHCARE   $    3,144.50
2018-09-21 34276   MICROTEK MEDICAL                 $    2,961.65
2018-09-21 34277   MIMEDX GROUP INC                 $    1,245.00
2018-09-21 34278   MONROE COUNTY JOURNAL            $      214.50
2018-09-21 34279   STERIS CORPORATION INC 1 *       $      565.76
2018-09-21 34280   STRYKER ORTHOPAEDICS             $    8,933.07
2018-09-20 ACH     PAYMENT SYSCO MEMPHIS, L CTX     $    2,023.79
2018-09-18 ACH     PAYMENT SYSCO MEMPHIS, L CTX     $    1,644.32
2018-09-17 70026   ARTHREX INC                      $      995.00
2018-09-17 70027   BAXTER HEALTHCARE CORP           $    6,075.82
2018-09-17 70028   BECKMAN COULTER INC              $    2,076.39
2018-09-17 70029   BROWNSTEIN/DR. RICHARD           $   12,134.00
2018-09-17 70030   CDW COMPUTER CENTERS INC         $    4,145.94
2018-09-18 70031   AT&T MOBILITY                    $       25.41
2018-09-18 70032   BOSTON SCIENTIFIC CORPORATION    $      852.80
2018-09-18 70033   CHG-MERIDIAN USA CORP            $      790.72
2018-09-18 70034   CLARKSDALE COUNTRY CLUB APTS     $    1,048.00
2018-09-18 70035   CONFORMIS                        $    4,800.00
2018-09-18 70036   DATEX OHMEDA INC                 $      353.00
2018-09-18 70037   GE HEALTHCARE IITS USA CORP      $   38,196.51
2018-09-18 70038   GENERAL BIOMEDICAL SERVICE       $   11,263.19
2018-09-18 70039   HOSPITAL HOUSEKEEPING            $   66,952.65
2018-09-18 70040   HUGHES/DR. TOMMY                 $      451.60
2018-09-18 70041   JOHNSON CONTROLS                 $    1,735.21
2018-09-18 70043   NAVIENT                          $    1,041.66

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2018-09-18 70044   PHILIPS MEDICAL CAPITAL          $      635.76
2018-09-18 70045   SOFT COMPUTER CONSULTANTS INC    $    7,257.14
2018-09-18 70046   STRYKER FLEX FINANCIAL           $    1,013.49
2018-09-18 70047   TODD/JENNIFER                    $       42.50
2018-09-18 70048   U.S. POSTAL SERVICE              $      166.00
2018-09-18 70049   US DEPT OF EDUCATION             $    1,041.67
2018-09-18 70050   VRC OF MS LLC                    $       91.31
2018-09-19 70051   ARROW INTERNATIONAL              $      155.82
2018-09-19 70052   FISHER HEALTHCARE IL             $    1,425.00
2018-09-19 70053   FISHER SCIENTIFIC HEALTHCARE     $      130.64
2018-09-19 70054   MANGLE CONSTRUCTION LLC          $    2,650.00
2018-09-19 70055   PERFORMANCE HEALTH SUPPLY INC    $      496.98
2018-09-19 70056   SOUTHERN PIPE AND SUPPLY         $      335.25
2018-09-20 70057   ACIST MEDICAL SYSTEMS            $      652.00
2018-09-20 70058   CARRIER COMMERCIAL SYSTEMS AN    $    4,250.00
2018-09-20 70059   MEDELA INC                       $      483.08
2018-09-21 70060   ADELPHI MEDICAL STAFFING         $   17,990.73
2018-09-21 70061   ALSCO LINEN AND UNIFORM RENTAL   $      118.53
2018-09-21 70062   B BRAUN MEDICAL                  $       38.00
2018-09-21 70063   BEEMIDI/VIKRAM                   $       60.57
2018-09-21 70064   BIMBO BAKERIES USA               $      144.13
2018-09-21 70065   CAPITOL MEDICAL SUPPLY INC MS    $    1,262.00
2018-09-21 70066   CARDINAL HEALTH INCORPORATED     $      606.08
2018-09-21 70067   CARDINAL HEALTH 110, INC         $   55,753.18
2018-09-21 70068   CLARKSDALE PRESS REGISTER        $       15.00
2018-09-21 70069   COCA COLA BOTTLING CO            $    1,620.95
2018-09-21 70070   CR BARD INCORPORATED             $      367.60
2018-09-21 70071   CROWN HEALTHCARE LAUNDRY         $    2,196.53
2018-09-21 70072   DR. AMAN MUNIR                   $      750.00
2018-09-21 70073   FEDEX                            $      186.12
2018-09-21 70074   FISHER SCIENTIFIC HEALTHCARE     $    4,088.00
2018-09-21 70075   GIS                              $       23.61
2018-09-21 70076   HUFF/SUSAN                       $       50.00
2018-09-21 70077   JACKSON & COKER LOCUM TENENS,    $   28,153.53
2018-09-21 70078   KONICA MEDICAL IMAGING CORP      $    2,243.72
2018-09-21 70079   LABORATORY CORPORATION           $       41.80
2018-09-21 70080   LOVE/POLLY                       $      457.70
2018-09-21 70081   MCCARTNEY PRODUCE                $      341.03
2018-09-21 70082   MEDLINE INDUSTRIES INC           $    3,981.67
2018-09-21 70083   MICROTEK MEDICAL                 $    1,486.36
2018-09-21 70084   NET HEALTH SYSTEMS INC           $      750.00
2018-09-21 70085   ORTHO-CLINICAL DIAGNOSTICS IN    $      186.37
2018-09-21 70086   PETTY CASH FOR DEPORRES CENTE    $       73.00
2018-09-21 70087   PHARMEDIUM SERVICES, LLC         $      454.40
2018-09-21 70088   PHILIPS MEDICAL SYSTEMS          $       42.34
2018-09-21 70089   PRAIRIE FARMS                    $      279.89
2018-09-21 70090   REGION I MENTAL HEALTH CTR       $      309.67
2018-09-21 70091   RENTOKIL PEST CONTROL            $      508.00
2018-09-21 70092   REPUBLIC SERVICES                $       42.10
2018-09-21 70093   SERVICE PRINTERS                 $      278.10
2018-09-21 70094   SIEMENS MEDICAL SOLUTIONS USA    $    8,962.75
2018-09-21 70095   SOUTHERN/JOEL                    $      176.11
2018-09-21 70096   STERICYCLE INC                   $      480.12
2018-09-21 70097   SYSCO MEMPHIS LLC                $    3,281.22
2018-09-21 70098   WASEF/DR. MAHA                   $    1,230.29
2018-09-21 70099   CARSTENS INC 2                   $       90.80
2018-09-21 70100   SAYLE OIL COMPANY INC.           $      109.86
2018-09-21 70101   TRUE VALUE BUILDING              $       44.99
2018-09-18 ACH     PAYMENT SYSCO MEMPHIS, L CTX     $    4,141.24
2018-09-21 ACH     PAYMENT SYSCO MEMPHIS, L CTX     $    4,554.87
2018-09-18 14009   BENCO DENTAL SUPPLY              $    2,876.69
2018-09-18 14010   CLINICAL INNOVATIONS             $      120.75
2018-09-18 14011   OLYMPUS AMERICA, INC             $      280.74
2018-09-18 14012   STERIS (US ENDOSCOPY)            $      413.17
2018-09-18 14013   TECH SYSTEMS INC                 $      284.00
2018-09-18 14014   BENCO DENTAL SUPPLY              $       81.06
2018-09-18 14015   DOCUMART OF THE MID-SOUTH LLC    $      357.39
2018-09-19 14016   BALTHROP, ERICA                  $    2,495.95
2018-09-20 14017   GATEWAY TIRE AND SERVICE CENTE   $      588.85
2018-09-21 14018   ABBOTT LABORATORIES              $      389.28
2018-09-21 14019   ARAMARK                          $      333.70
2018-09-21 14020   AT&T                             $    1,587.83
2018-09-21 14021   BATESVILLE FAMILY MEDICAL PLLC   $   42,925.84
2018-09-21 14022   BAYER HEALTHCARE                 $      608.54
2018-09-21 14023   BECKWITH, AMANDA DO, PLLC        $    6,400.00
2018-09-21 14024   CARDINAL HEALTH 110, LLC         $   20,883.61
2018-09-21 14025   CARDINAL HEALTH INCORPORATED     $      134.30
2018-09-21 14026   CARDINAL HEALTH NUCLEAR          $      202.74
2018-09-21 14027   CAREMED                          $    1,680.00
2018-09-21 14028   CITY OF BATESVILLE               $    2,582.72
2018-09-21 14029   COCA-COLA                        $      365.35
2018-09-21 14030   COMMUNITY COFFEE, LLC            $      600.02
2018-09-21 14031   CROWN HEALTH CARE LAUNDRY        $    2,842.45
2018-09-21 14032   DELTA TECHNOLOGY SOLUTIONS INC   $    2,496.62
2018-09-21 14033   DRAEGER MEDICAL INC              $      152.91
2018-09-21 14034   DUDE SOLUTIONS, INC              $    7,940.00
2018-09-21 14035   ECOLAB HEALTHCARE                $      139.53
2018-09-21 14036   EXPERIAN HEALTH                  $      212.64
2018-09-21 14037   FEDEX                            $        7.84
2018-09-21 14038   FISHER AND PAYKEL HEALTHCARE     $      329.22
2018-09-21 14039   FISHER SCIENTIFIC HEALTHCARE     $    3,613.54
2018-09-21 14040   GIS, INC                         $       18.50
2018-09-21 14041   HENRY SCHEIN                     $      111.52
2018-09-21 14042   HILL ROM COMPANY INC             $      238.28
2018-09-21 14043   HOSPIRA WORLDWIDE INC            $    1,256.40
2018-09-21 14044   IRON MOUNTAIN                    $      159.82
2018-09-21 14045   IRON MOUNTAIN                    $       80.16
2018-09-21 14046   IRON MOUNTAIN                    $       64.71
2018-09-21 14047   JPB PATHOLOGY, INC               $      277.28
2018-09-21 14048   KASP CONSULTING, INC             $   20,810.00

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2018-09-21 14049   LABORATORY CORP. OF AMERICA      $    1,199.87
2018-09-21 14050   LEASING ASSOCIATES OF BARRINGT   $    3,685.00
2018-09-21 14051   LIFEGUARD AMBULANCE SERVICE      $      500.00
2018-09-21 14052   MASIMO                           $      695.00
2018-09-21 14053   MASSEY, JONATHAN MD              $    5,000.00
2018-09-21 14054   MCDANIEL LAWN SERVICE            $    2,722.00
2018-09-21 14055   MCKESSON MEDICAL-SURGICAL INC    $    1,256.92
2018-09-21 14056   MERRY XRAY SOURCE ONE            $       64.13
2018-09-21 14057   MICROTEK MEDICAL, INC            $      109.84
2018-09-21 14058   MID SOUTH WASTE DISPOSAL, INC    $       30.80
2018-09-21 14059   MID-SOUTH SEPTIC TANK SERVICE    $      225.00
2018-09-21 14060   MIDTOWN MARKET, LLC              $    2,320.23
2018-09-21 14061   MISS DEPT HLTH,#HC0100073        $    1,000.00
2018-09-21 14062   MISSISSIPPI EMERGENCY PHYS       $ 14,952.72
2018-09-21 14063   MISSISSIPPI BLOOD SERVICES, IN   $    2,951.00
2018-09-21 14064   MORRISON HEALTHCARE              Void
2018-09-21 14065   MTM RECOGNITION CORPORATION      $      377.00
2018-09-21 14066   NATUS MEDICAL INC                $      142.50
2018-09-21 14067   NETHEALTH SYSTEMS                $    3,057.36
2018-09-21 14068   NEXAIR LR                        $      567.13
2018-09-21 14069   OLYMPUS AMERICA, INC             $      103.68
2018-09-21 14070   PHILIPS HEALTHCARE               $      160.50
2018-09-21 14071   PHILIPS RESPIRONICS              $       58.64
2018-09-21 14072   PRAIRIE FARMS DAIRY, INC         $      212.50
2018-09-21 14073   RJ YOUNG COMPANY                 $      510.55
2018-09-21 14074   ROLAND, MALCOLM MD               $      685.20
2018-09-21 14075   SANOFI PASTEUR                   $    2,934.60
2018-09-21 14076   SIEMENS HEALTHCARE DIAGNOSTICS   $    7,935.33
2018-09-21 14077   SMITH CLEANERS                   $       77.04
2018-09-21 14078   SOFTSCRIPT, INC                  $      896.72
2018-09-21 14079   STAPLES ADVANTAGE                $         -
2018-09-21 14080   STAPLES ADVANTAGE                $    4,030.75
2018-09-21 14081   STEGALL NOTARY SERVICE           $      102.00
2018-09-21 14082   STERICYCLE, INC.                 $    1,573.97
2018-09-21 14083   SUTURE EXPRESS                   $      269.99
2018-09-21 14084   TACY MEDICAL                     $      456.00
2018-09-21 14085   TALLAHATCHIE VALLEY EPA          $ 15,625.36
2018-09-21 14086   THE PANOLIAN                     $    1,017.00
2018-09-21 14087   TRIPLE POINT INDUSTRIES          $      512.00
2018-09-21 14088   UNIVERSAL HOSPITAL SERVICES      $    1,545.00
2018-09-21 14089   WILLOW ANESTHESIA SERVICES       $    6,541.75
2018-09-21 14090   WINTHROP RESOURCES CORPORATION   $    5,506.00
2018-09-20 ACH     PAYMENT SYSCO MEMPHIS, L CTX     $    3,402.04
2018-09-18 ACH     PAYMENT SYSCO MEMPHIS, L CTX     $    2,217.20
2018-09-28 ACH     PAYMENT SYSCO MEMPHIS, L CTX     $    3,377.78
2018-09-27 ACH     PAYMENT SYSCO MEMPHIS, L CTX     $    2,413.43
2018-09-27 ACH     PAYMENT SYSCO MEMPHIS, L CTX     $    2,947.33
2018-09-25 ACH     PAYMENT SYSCO MEMPHIS, L CTX     $    2,569.97
2018-09-25 ACH     PAYMENT SYSCO MEMPHIS, L CTX     $    3,847.06
2018-09-24 34281   CARDINAL HEALTH PHARMACY #3268   $ 19,171.30
2018-09-24 34282   OWENS AND MINOR                  $    4,314.73
2018-09-24 34283   PHYS & SURGEONS CLINIC PLLC AN   $    3,648.98
2018-09-24 34284   PHYS & SURGEONS CLINIC AND DR    $    7,119.53
2018-09-24 34285   PRAIRIE FARMS                    $       88.35
2018-09-25 34286   APPLIED MEDICAL RESOURCES CORP   $    2,820.00
2018-09-25 34287   CARDINAL HEALTH INCORPORATED     $      207.27
2018-09-25 34288   COVIDIEN                         $    1,706.00
2018-09-25 34289   OLYMPUS AMERICA INC              $    3,877.29
2018-09-25 34290   PLEXUS BIOMEDICAL                $    1,880.00
2018-09-26 34291   AIRGAS                           $    2,720.91
2018-09-26 34292   AMERIPRIDE SERVICES INC          $       28.95
2018-09-26 34293   AMORY PAINT & HOME CENTER        $      139.96
2018-09-26 34294   AMORY WATER AND ELECTRIC         $      674.73
2018-09-26 34295   AT&T (VIRTUAL TELECOM)           $       46.32
2018-09-26 34296   ATMOS ENERGY                     $    1,648.08
2018-09-26 34297   BECKMAN COULTER INC              $       10.24
2018-09-26 34298   BIOMERIEUX MO                    $    3,024.75
2018-09-26 34299   C AND D LUMBER CO                $       29.99
2018-09-26 34300   CANON FINANCIAL SERVICES INC     $    4,397.94
2018-09-26 34301   CARDINAL HEALTH INCORPORATED     $       75.81
2018-09-26 34302   CLARK BEVERAGE GROUP INC         $      268.38
2018-09-26 34303   COCKRELL BANANA CO               $      284.44
2018-09-26 34304   COMMUNITY COFFEE LLC             $      617.81
2018-09-26 34305   COMPREHENSIVE HOSP OF MS,LLC     $ 88,475.00
2018-09-26 34306   CROSS CREEK PROPERTIES LLC       $    5,400.00
2018-09-26 34307   CRYSTAL SPRINGS WATER OF MS      $        9.60
2018-09-26 34308   DIVERSIFIED CLINICAL SERVICES    $    2,191.22
2018-09-26 34309   DRAGER MEDICAL INC               $      554.00
2018-09-26 34310   DSI SECURITY SERVICES            $    2,670.76
2018-09-26 34311   FEDEX                            $      538.79
2018-09-26 34312   FISHER SCIENTIFIC HEALTHCARE     $       26.00
2018-09-26 34313   FLOWERS BAKING CO OF BHAM        $       71.43
2018-09-26 34314   FOOD GIANT #269                  $       50.88
2018-09-26 34315   GO BOX ENVIRONMENTAL LLC         $       74.16
2018-09-26 34316   HEALTH CARE LOGISTICS INC        $      493.86
2018-09-26 34317   HILL ROM COMPANY INC             $      476.56
2018-09-26 34318   HOLOGIC INC                      $      835.32
2018-09-26 34319   ITAWAMBA COUNTY BOARD            $    2,000.00
2018-09-26 34320   JOHNSON AND JOHNSON HEALTHCARE   $      669.23
2018-09-26 34321   JOHNSON CONTROLS INC             $    3,239.22
2018-09-26 34322   KCI USA                          $       13.00
2018-09-26 34323   KERMA MEDICAL PRODUCTS           $    1,182.75
2018-09-26 34324   LAB CORP OF AMERICA              $      351.33
2018-09-26 34325   LANN CHEMICAL & SUPPLY CO        $      765.20
2018-09-26 34326   LTC REHAB 2 LLC OF MS            $    8,012.00
2018-09-26 34327   MAXXSOUTH BROADBAND              $    1,840.00
2018-09-26 34328   MEMORIES UNLIMITED               $       57.49
2018-09-26 34329   MID STATES PETROLEUM COMPANY     $      119.35
2018-09-26 34330   MID-SOUTH MEDICAL IMAGING LLC    $    1,009.04
2018-09-26 34331   MONROE COUNTY JOURNAL            $       16.16

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2018-09-26   34332   MS STATE DEPT OF HEALTH          $      660.00
2018-09-26   34333   NATUS MEDICAL INC                $      430.93
2018-09-26   34334   OWENS AND MINOR                  $         -
2018-09-26   34335   OWENS AND MINOR                  $         -
2018-09-26   34336   OWENS AND MINOR                  $   26,714.87
2018-09-26   34337   PITNEY BOWES GLOBAL FIN SRV LL   $    1,317.00
2018-09-26   34338   PREMIER HEALTHCARE SOLUTIONS     $      752.72
2018-09-26   34339   R AND D BATTERIES                $       17.00
2018-09-26   34340   SAYLORS/SHARLA                   $    2,000.00
2018-09-26   34341   SOFTSCRIPT INC                   $    2,054.38
2018-09-26   34342   STAT IMAGING SOLUTIONS LLC       $      212.88
2018-09-26   34343   STERICYCLE                       $    3,827.61
2018-09-26   34344   STERIS CORPORATION INC 1 *       $      490.69
2018-09-26   34345   STERITECH GROUP                  $      155.55
2018-09-26   34346   STRYKER ENDOSCOPY                $      454.34
2018-09-26   34347   STRYKER FLEX FINANCIAL           $    1,434.62
2018-09-26   34348   STRYKER INSTRUMENTS              $      999.36
2018-09-26   34349   STRYKER ORTHOPAEDICS             $    7,882.56
2018-09-26   34350   STRYKER SUSTAINABILITY SOLUTIO   $       35.57
2018-09-26   34351   TELE-PHYSICIANS PC               $    1,060.90
2018-09-26   34352   THYSSENKRUPP ELEVATOR CORPORAT   $    1,824.90
2018-09-26   34353   TIMOTHY STRICKLAND, CONTRACTOR   $       45.20
2018-09-26   34354   TUBB/CHUCK                       $       32.88
2018-09-26   34355   US MED-EQUIP INC                 $    1,021.65
2018-09-26   34356   VITAL CARE INDUSTRIES INC        $        9.37
2018-09-26   34357   W L GORE AND ASSOCIATES INC      $      616.00
2018-09-26   34358   WILLIAMS TRANSFER AND STORAGE    $      250.00
2018-09-26   34359   XEROX CORPORATION INC            $      540.79
2018-09-26   34360   XEROX FINANCIAL SERVICES         $    4,231.79
2018-09-27   34361   C AND D LUMBER CO                $       19.96
2018-09-27   34362   CARDINAL HEALTH NUCLEAR          $      249.37
2018-09-27   34363   HOSPIRA WORLDWIDE INC            $    1,065.00
2018-09-27   34364   NESCO                            $      295.95
2018-09-27   34365   STAR PRINTING CO                 $      435.73
2018-09-27   34366   TECH SYSTEMS INC                 $      233.10
2018-09-27   34367   VITAL CARE INDUSTRIES INC        $      118.17
2018-09-28   34368   AMORY BACKFLOW TESTING           $    1,366.50
2018-09-28   34369   AMORY SURGERY CLINIC             $   11,500.00
2018-09-28   34370   ANESTHESIA ASSOC OF MS PLLC      $   57,047.92
2018-09-28   34371   AT&T                             $    1,617.57
2018-09-28   34372   AT&T                             $    5,943.20
2018-09-28   34373   COLE, DR KEVIN                   $    2,084.00
2018-09-28   34374   EXPERIAN HEALTH INC              $      183.12
2018-09-28   34375   HOLOGIC INC                      $    3,271.34
2018-09-28   34376   LANN CHEMICAL & SUPPLY CO        $      612.95
2018-09-28   34377   OLYMPUS AMERICA INC              $       19.25
2018-09-28   34378   OWENS AND MINOR                  $    1,526.43
2018-09-28   34379   PHYS & SURGEONS CLINIC PLLC AN   $   27,012.37
2018-09-28   34380   PHYS & SURGEONS CLINIC AND DR    $   20,468.64
2018-09-28   34381   STRYKER ORTHOPAEDICS             $    7,000.00
2018-09-28   34382   TIDWELL/DR CHRISTOPHER W         $    3,000.00
2018-09-24   14091   MORRISON HEALTHCARE              $    4,637.20
2018-09-24   14092   BENCO DENTAL SUPPLY              $      866.60
2018-09-24   14093   COOPER SURGICAL                  $      577.26
2018-09-24   14094   INCISIVE SURGICAL                $      260.00
2018-09-24   14095   MERRY XRAY SOURCE ONE            $      168.97
2018-09-24   14096   STERIS (US ENDOSCOPY)            $      417.83
2018-09-24   14097   STERIS CORPORATION INC 1         $       52.29
2018-09-25   14098   BAXTER HEALTHCARE CORP           $      940.43
2018-09-25   14099   BEEKLEY CORPORATION              $      160.00
2018-09-25   14100   BENCO DENTAL SUPPLY              $    2,356.64
2018-09-25   14101   COVENANT SLEEP CLINIC            $      102.87
2018-09-26   14102   SYMMETRY SURGICAL                $      367.60
2018-09-27   14103   BAXTER HEALTHCARE CORP           $    1,060.05
2018-09-28   14105   BENCO DENTAL SUPPLY              $      746.61
2018-09-28   14106   BENCO DENTAL SUPPLY              $      236.45
2018-09-28   14107   BENCO DENTAL SUPPLY              $      236.45
2018-09-28   14108   ANDERSON, MICHAEL MD             $    8,717.96
2018-09-28   14109   AT&T                             $      879.11
2018-09-28   14110   AT&T                             $      993.37
2018-09-28   14111   AT&T PRO-CABS                    $    1,707.18
2018-09-28   14112   BALTHROP, ERICA                  $    3,615.02
2018-09-28   14113   BATESVILLE FAMILY MEDICAL PLLC   $   76,974.29
2018-09-28   14114   BAYER HEALTHCARE                 $      608.54
2018-09-28   14115   BECKWITH, AMANDA DO, PLLC        $    9,600.00
2018-09-28   14116   BENCO DENTAL SUPPLY              $       99.08
2018-09-28   14117   BETH CABRERA MONOGRAMMING        $      346.00
2018-09-28   14118   BIMBO BAKERIES USA               $      211.22
2018-09-28   14119   BIO-RAD LABORATORIES INC         $    3,284.32
2018-09-28   14120   BOSTON SCIENTIFIC CORPORATION    $       74.25
2018-09-28   14121   BRENTWOOD BEHAVIORAL HEALTHCAR   $   60,000.00
2018-09-28   14122   CABLE ONE                        $    1,170.31
2018-09-28   14123   CARDINAL HEALTH INCORPORATED     $      132.49
2018-09-28   14124   CARRIER COMMERCIAL SYSTEMS AND   $    9,800.00
2018-09-28   14125   COCA-COLA                        $    1,219.25
2018-09-28   14126   CR BARD INCORPORATED             $      120.20
2018-09-28   14127   CROWN HEALTH CARE LAUNDRY        $    3,005.71
2018-09-28   14128   DJO LLC                          $       44.98
2018-09-28   14129   FEDEX                            $      234.86
2018-09-28   14130   FISHER SCIENTIFIC HEALTHCARE     $      724.07
2018-09-28   14131   GE HEALTHCARE                    $    2,598.00
2018-09-28   14132   GRAINGER WW                      $    1,779.09
2018-09-28   14133   HOSPIRA WORLDWIDE INC            $      511.65
2018-09-28   14134   JPB PATHOLOGY, INC               $      870.96
2018-09-28   14135   KASP CONSULTING, INC             $   16,552.64
2018-09-28   14136   LYNN MEDICAL INSTRUMENTS         $       58.17
2018-09-28   14137   MASIMO                           $      975.00
2018-09-28   14138   MASSEY, JONATHAN MD              $    6,000.00
2018-09-28   14139   MISKEL, JAYCE O'NEALIAN          $    4,341.29
2018-09-28   14140   MISSISSIPPI EMERGENCY PHYS       $   57,941.67

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2018-09-28   14141   MS STATE DEPT OF HEALTH          $      110.00
2018-09-28   14142   NATUS MEDICAL INC                $      142.50
2018-09-28   14143   NAVIENT - DEPARTMENT OF EDUCAT   $      416.67
2018-09-28   14144   NEXAIR LR                        $      202.75
2018-09-28   14145   OLYMPUS AMERICA, INC             $    3,670.00
2018-09-28   14146   PARTSSOURCE INC                  $    2,541.37
2018-09-28   14147   PITNEY BOWES GLOBAL FINANCIAL    $      594.00
2018-09-28   14148   RENTOKIL STERITECH               $      821.94
2018-09-28   14149   ROLAND, MALCOLM MD               $    4,274.80
2018-09-28   14150   STAPLES ADVANTAGE                $    1,889.08
2018-09-28   14151   STERIS (US ENDOSCOPY)            $      540.28
2018-09-28   14152   STRYKER ENDOSCOPY                $      797.12
2018-09-28   14153   SUNRISE PRODUCE                  $      282.34
2018-09-28   14154   SUTURE EXPRESS                   $    4,949.88
2018-09-28   14155   SYSMEX AMERICA INC               $      718.75
2018-09-28   14156   TACY MEDICAL                     $      154.00
2018-09-28   14157   TELEFLEX MEDICAL                 $        9.30
2018-09-28   14158   UNIVERSAL HOSPITAL SERVICES      $      452.06
2018-09-28   14159   WILLOW ANESTHESIA SERVICES       $   18,808.25
2018-09-28   14160   XEROX CORPORATION                $      289.54
2018-09-28   14161   YOURCARE UNIVERSE, INC           $    5,000.00
2018-09-28   14162   DAVIS, JESSE MD                  $    1,741.98
2018-09-28   14163   COLLINS, TERESA                  $      800.00
2018-09-24   70102   JOHNSON AND JOHNSON HEALTHCAR    $    2,344.16
2018-09-24   70103   KEY SURGICAL INC                 $      223.50
2018-09-24   70104   STERIS CORPORATION INC 1         $      151.14
2018-09-24   70105   BROWNSTEIN/DR. RICHARD           $   12,134.00
2018-09-25   70106   ALCON LABORATORIES INC           $       30.00
2018-09-25   70107   ARTHREX INC                      $    1,493.00
2018-09-25   70108   CLINICAL INNOVATIONS             $      762.50
2018-09-25   70109   FISHER SCIENTIFIC HEALTHCARE     $    7,011.68
2018-09-25   70110   MEDELA INC                       $    1,262.26
2018-09-25   70111   RADIOMETER AMERICA               $    1,826.80
2018-09-25   70112   STRYKER ENDOSCOPY                $      251.68
2018-09-26   70113   ABBOTT POINT OF CARE             $      351.78
2018-09-26   70114   AIR GAS MIDSOUTH INC             $      348.35
2018-09-26   70115   ALCON LABORATORIES INC           $    1,578.42
2018-09-26   70116   ALSCO LINEN AND UNIFORM RENTAL   $      112.53
2018-09-26   70117   AMBU INC                         $      196.41
2018-09-26   70118   AMERICAN NATIONAL RED CROSS      $      517.00
2018-09-26   70119   ATMOS ENERGY                     $    1,667.91
2018-09-26   70120   B BRAUN MEDICAL                  $      456.90
2018-09-26   70121   BABY-FRIENDLY USA INC            $    4,200.00
2018-09-26   70122   BAXTER HEALTHCARE CORP           $    1,220.49
2018-09-26   70123   BIODEX MEDICAL SYSTEMS           $      275.00
2018-09-26   70124   BIOMERIEUX MO                    $    2,487.96
2018-09-26   70125   BOSTON SCIENTIFIC CORPORATION    $      666.00
2018-09-26   70126   BUCKNER/TAWANA                   $       75.00
2018-09-26   70127   CABLEONE                         $      309.42
2018-09-26   70128   CAPITOL MEDICAL SUPPLY INC MS    $       51.75
2018-09-26   70129   CARDINAL HEALTH INCORPORATED     $    2,836.15
2018-09-26   70130   CARDINAL HEALTH 200 LLC          $       83.00
2018-09-26   70131   CENTERPOINT ENERGY               $        2.38
2018-09-26   70132   CHG-MERIDIAN USA CORP            $    3,063.89
2018-09-26   70133   CHSPSC, LLC                      $   99,276.00
2018-09-26   70134   CINCINNATI SUB ZERO PRODUCTS     $      165.60
2018-09-26   70135   CINTAS CORPORATION               $      288.18
2018-09-26   70136   CLARKSDALE PUBLIC UTILITIES      $      610.12
2018-09-26   70137   COCA COLA BOTTLING CO            $      909.55
2018-09-26   70138   COMMUNITY COFFEE COMPANY         $      461.54
2018-09-26   70139   CR BARD INCORPORATED             $      134.70
2018-09-26   70140   CROWN HEALTHCARE LAUNDRY         $    1,726.65
2018-09-26   70141   DEPUY ORTHOPAEDICSGA             $    3,969.00
2018-09-26   70142   DSI SECURITY SERVICES            $   11,650.72
2018-09-26   70143   ECOLAB                           $      276.24
2018-09-26   70144   FEDEX                            $      264.47
2018-09-26   70145   FISHER SCIENTIFIC HEALTHCARE     $    1,018.48
2018-09-26   70146   FOOD SERVICE RESOURCES           $    1,200.24
2018-09-26   70147   GE HEALTHCARE                    $    8,434.58
2018-09-26   70148   GEORGIA TELE-PHYSICIANS          $    1,092.73
2018-09-26   70149   GRIFFIN/LULA                     $       55.00
2018-09-26   70150   HEALTH CARE LOGISTICS            $      179.91
2018-09-26   70151   HOLOGIC INC.                     $    2,609.10
2018-09-26   70152   IRON MOUNTAIN MANAGEMENT INC     $       80.35
2018-09-26   70153   JOHNSON CONTROLS                 $    5,585.58
2018-09-26   70154   MEDLINE INDUSTRIES INC           $    1,618.66
2018-09-26   70155   MICROLINE SURGICAL INC           $    1,130.00
2018-09-26   70156   MIMEDX GROUP INC                 $    2,390.00
2018-09-26   70157   NATUS NEUROLOGY                  $      400.00
2018-09-26   70158   OWENS AND MINOR                  $   21,145.64
2018-09-26   70159   PHILIPS MEDICAL CAPITAL          $    3,161.33
2018-09-26   70160   PHILIPS MEDICAL SYSTEMS          $      565.75
2018-09-26   70161   PRAIRIE FARMS                    $       38.25
2018-09-26   70162   RADIOMETER AMERICA               $    1,828.39
2018-09-26   70163   REVENUE CYCLE MANAGEMENT LLC     $    1,396.81
2018-09-26   70164   RICHARD-ALLAN SCIENTIFIC CO I    $      367.71
2018-09-26   70165   SERVICE MASTER BY MONTGOMERY     $      225.00
2018-09-26   70166   SERVICE PRINTERS                 $      100.45
2018-09-26   70167   SIEMENS HEALTHCARE DIAGNOSTIC    $       70.00
2018-09-26   70168   SMITH FNP-C/SHERRICA             $      519.00
2018-09-26   70169   SMITHS MEDICAL ASD INC           $      113.00
2018-09-26   70170   STAPLES ADVANTAGE                $    1,576.92
2018-09-26   70171   STAPLETON/ERIKA                  $      237.50
2018-09-26   70172   STAT IMAGING SOLUTIONS LLC       $    3,515.62
2018-09-26   70173   STERICYCLE INC                   $        8.31
2018-09-26   70174   STRYKER FLEX FINANCIAL           $      965.23
2018-09-26   70175   SYSCO MEMPHIS LLC                $    4,354.01
2018-09-26   70176   TENNANT SALES & SERVICE          $      885.10
2018-09-26   70177   VRC OF MS LLC                    $       83.00
2018-09-27   70178   BOSTON SCIENTIFIC CORPORATION    $      605.80

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2018-09-27 70179 JOHNSON AND JOHNSON HEALTHCAR              $     4,641.00
2018-09-27 70180 MANGLE CONSTRUCTION LLC                    $     1,300.00
2018-09-27 70181 MEDTRONIC USA INC                          $     7,185.00
2018-09-27 70182 STRYKER ENDOSCOPY                          $     1,192.84
2018-09-28 70183 ABBOTT DIABETES CARE INC                   $     4,478.40
2018-09-28 70184 ALCON LABORATORIES INC                     $     4,209.12
2018-09-28 70185 BERRYHILL/DR. G. D                         $       257.73
2018-09-28 70186 BROWNSTEIN/DR. RICHARD                     $ 49,076.00
2018-09-28 70187 CLARKSDALE PRESS REGISTER                  $       636.00
2018-09-28 70188 HADIDI/DR FASEEH M.                        $     6,677.42
2018-09-28 70189 HENRY SCHEIN                               $     2,310.38
2018-09-28 70190 HUGHES/DR. TOMMY                           $     1,298.40
2018-09-28 70191 JOHNSON AND JOHNSON HEALTHCAR              $     8,326.11
2018-09-28 70192 MID SOUTH PATHOLOGY                        $     1,487.50
2018-09-28 70193 NELSON M.D./HUNTER BEN                     $     3,043.48
2018-09-28 70194 SMITH/DR ANDREA                            $     3,859.71
2018-08-31 ACH   BANK FEES                                  $       152.43
2018-09-28 ACH   BANK FEES                                  $       155.80
Total                                                       $ 3,475,129.08


Account Number   Account Name              Date         Description               Amount
4313141996       NW MS Operating Account   2018/09/04   OUTGOING MONEY TRANSFER   1,100,000.00
4313141996       NW MS Operating Account   2018/09/07   OUTGOING MONEY TRANSFER     650,000.00
4313141996       NW MS Operating Account   2018/09/11   OUTGOING MONEY TRANSFER   2,500,000.00
4313141996       NW MS Operating Account   2018/09/12   OUTGOING MONEY TRANSFER     242,367.18
4313141996       NW MS Operating Account   2018/09/17   OUTGOING MONEY TRANSFER     600,000.00
4313141996       NW MS Operating Account   2018/09/19   OUTGOING MONEY TRANSFER     600,000.00
4313141996       NW MS Operating Account   2018/09/21   OUTGOING MONEY TRANSFER     500,000.00
4313141996       NW MS Operating Account   2018/09/25   OUTGOING MONEY TRANSFER   1,600,000.00
4313141996       NW MS Operating Account   2018/09/26   OUTGOING MONEY TRANSFER   1,000,000.00
4313141996       NW MS Operating Account   2018/09/28   OUTGOING MONEY TRANSFER     600,000.00
 Total                                                                            9,392,367.18




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Account Number   Account Name           Date         Description                Amount
4313141970       NW MS Master Account   2018/09/04   MISCELLANEOUS ACH CREDIT      29,692.18
4313141970       NW MS Master Account   2018/09/04   MISCELLANEOUS ACH CREDIT      13,162.43
4313141970       NW MS Master Account   2018/09/04   MISCELLANEOUS ACH CREDIT       5,595.58
4313141970       NW MS Master Account   2018/09/04   MISCELLANEOUS ACH CREDIT       5,305.21
4313141970       NW MS Master Account   2018/09/05   MISCELLANEOUS ACH CREDIT      28,519.22
4313141970       NW MS Master Account   2018/09/05   MISCELLANEOUS ACH CREDIT      10,036.38
4313141970       NW MS Master Account   2018/09/05   MISCELLANEOUS ACH CREDIT       7,507.95
4313141970       NW MS Master Account   2018/09/05   MISCELLANEOUS ACH CREDIT       6,961.35
4313141970       NW MS Master Account   2018/09/06   MISCELLANEOUS ACH CREDIT      19,633.22
4313141970       NW MS Master Account   2018/09/06   MISCELLANEOUS ACH CREDIT       3,505.89
4313141970       NW MS Master Account   2018/09/06   MISCELLANEOUS ACH CREDIT       2,285.32
4313141970       NW MS Master Account   2018/09/06   MISCELLANEOUS ACH CREDIT         197.66
4313141970       NW MS Master Account   2018/09/07   MISCELLANEOUS ACH CREDIT      53,681.14
4313141970       NW MS Master Account   2018/09/07   MISCELLANEOUS ACH CREDIT      25,623.30
4313141970       NW MS Master Account   2018/09/07   MISCELLANEOUS ACH CREDIT      13,029.42
4313141970       NW MS Master Account   2018/09/07   MISCELLANEOUS ACH CREDIT       4,883.96
4313141970       NW MS Master Account   2018/09/10   MISCELLANEOUS ACH CREDIT      22,335.85
4313141970       NW MS Master Account   2018/09/10   MISCELLANEOUS ACH CREDIT      20,368.85
4313141970       NW MS Master Account   2018/09/10   MISCELLANEOUS ACH CREDIT       9,070.71
4313141970       NW MS Master Account   2018/09/10   MISCELLANEOUS ACH CREDIT       6,914.85
4313141970       NW MS Master Account   2018/09/11   MISCELLANEOUS ACH CREDIT      18,986.58
4313141970       NW MS Master Account   2018/09/11   MISCELLANEOUS ACH CREDIT      18,361.03
4313141970       NW MS Master Account   2018/09/11   MISCELLANEOUS ACH CREDIT       6,482.08
4313141970       NW MS Master Account   2018/09/11   MISCELLANEOUS ACH CREDIT       6,342.75
4313141970       NW MS Master Account   2018/09/12   MISCELLANEOUS ACH CREDIT      23,464.72
4313141970       NW MS Master Account   2018/09/12   MISCELLANEOUS ACH CREDIT      10,277.81
4313141970       NW MS Master Account   2018/09/12   MISCELLANEOUS ACH CREDIT       6,039.86
4313141970       NW MS Master Account   2018/09/12   MISCELLANEOUS ACH CREDIT       5,396.90
4313141970       NW MS Master Account   2018/09/13   MISCELLANEOUS ACH CREDIT      14,201.51
4313141970       NW MS Master Account   2018/09/13   MISCELLANEOUS ACH CREDIT       7,147.36
4313141970       NW MS Master Account   2018/09/13   MISCELLANEOUS ACH CREDIT       2,501.12
4313141970       NW MS Master Account   2018/09/13   MISCELLANEOUS ACH CREDIT         140.51
4313141970       NW MS Master Account   2018/09/14   MISCELLANEOUS ACH CREDIT      32,812.80
4313141970       NW MS Master Account   2018/09/14   MISCELLANEOUS ACH CREDIT      10,719.56
4313141970       NW MS Master Account   2018/09/14   MISCELLANEOUS ACH CREDIT       9,880.19
4313141970       NW MS Master Account   2018/09/14   MISCELLANEOUS ACH CREDIT       4,161.89
4313141970       NW MS Master Account   2018/09/17   MISCELLANEOUS ACH CREDIT      30,345.00
4313141970       NW MS Master Account   2018/09/17   MISCELLANEOUS ACH CREDIT      16,690.66
4313141970       NW MS Master Account   2018/09/17   MISCELLANEOUS ACH CREDIT       6,026.46
4313141970       NW MS Master Account   2018/09/17   MISCELLANEOUS ACH CREDIT       5,330.09
4313141970       NW MS Master Account   2018/09/18   MISCELLANEOUS ACH CREDIT      79,287.93
4313141970       NW MS Master Account   2018/09/18   MISCELLANEOUS ACH CREDIT       9,771.47
4313141970       NW MS Master Account   2018/09/18   MISCELLANEOUS ACH CREDIT       5,760.99
4313141970       NW MS Master Account   2018/09/18   MISCELLANEOUS ACH CREDIT       5,483.92
4313141970       NW MS Master Account   2018/09/19   MISCELLANEOUS ACH CREDIT      22,429.30
4313141970       NW MS Master Account   2018/09/19   MISCELLANEOUS ACH CREDIT      13,325.99
4313141970       NW MS Master Account   2018/09/19   MISCELLANEOUS ACH CREDIT      12,577.63
4313141970       NW MS Master Account   2018/09/19   MISCELLANEOUS ACH CREDIT       2,385.25
4313141970       NW MS Master Account   2018/09/20   MISCELLANEOUS ACH CREDIT       3,985.90
4313141970       NW MS Master Account   2018/09/20   MISCELLANEOUS ACH CREDIT       2,736.10
4313141970       NW MS Master Account   2018/09/20   MISCELLANEOUS ACH CREDIT       2,263.90
4313141970       NW MS Master Account   2018/09/20   MISCELLANEOUS ACH CREDIT       1,526.61
4313141970       NW MS Master Account   2018/09/21   MISCELLANEOUS ACH CREDIT      13,913.39
4313141970       NW MS Master Account   2018/09/21   MISCELLANEOUS ACH CREDIT       9,219.89
4313141970       NW MS Master Account   2018/09/21   MISCELLANEOUS ACH CREDIT       8,340.51
4313141970       NW MS Master Account   2018/09/21   MISCELLANEOUS ACH CREDIT       1,882.18
4313141970       NW MS Master Account   2018/09/24   MISCELLANEOUS ACH CREDIT      15,874.27
4313141970       NW MS Master Account   2018/09/24   MISCELLANEOUS ACH CREDIT       9,490.10
4313141970       NW MS Master Account   2018/09/24   MISCELLANEOUS ACH CREDIT       5,027.96
4313141970       NW MS Master Account   2018/09/24   MISCELLANEOUS ACH CREDIT       4,874.62
4313141970       NW MS Master Account   2018/09/25   MISCELLANEOUS ACH CREDIT      50,826.32
4313141970       NW MS Master Account   2018/09/25   MISCELLANEOUS ACH CREDIT      14,097.31
4313141970       NW MS Master Account   2018/09/25   MISCELLANEOUS ACH CREDIT      14,000.12
4313141970       NW MS Master Account   2018/09/25   MISCELLANEOUS ACH CREDIT      10,447.59
4313141970       NW MS Master Account   2018/09/26   MISCELLANEOUS ACH CREDIT      12,019.72
4313141970       NW MS Master Account   2018/09/26   MISCELLANEOUS ACH CREDIT       4,884.28
4313141970       NW MS Master Account   2018/09/26   MISCELLANEOUS ACH CREDIT       2,673.05
4313141970       NW MS Master Account   2018/09/26   MISCELLANEOUS ACH CREDIT         598.59
4313141970       NW MS Master Account   2018/09/27   MISCELLANEOUS ACH CREDIT      11,426.99
4313141970       NW MS Master Account   2018/09/27   MISCELLANEOUS ACH CREDIT       3,893.75
4313141970       NW MS Master Account   2018/09/27   MISCELLANEOUS ACH CREDIT       3,120.60
4313141970       NW MS Master Account   2018/09/27   MISCELLANEOUS ACH CREDIT          85.40
4313141970       NW MS Master Account   2018/09/28   MISCELLANEOUS ACH CREDIT      10,359.13
4313141970       NW MS Master Account   2018/09/28   MISCELLANEOUS ACH CREDIT       4,924.82
4313141970       NW MS Master Account   2018/09/28   MISCELLANEOUS ACH CREDIT       2,733.04
4313141970       NW MS Master Account   2018/09/28   MISCELLANEOUS ACH CREDIT          21.89
4313141970       NW MS Master Account   2018/09/04   ZBA CREDIT TRANSFER              122.17
4313141970       NW MS Master Account   2018/09/04   ZBA CREDIT TRANSFER            6,642.16
4313141970       NW MS Master Account   2018/09/04   ZBA CREDIT TRANSFER           86,288.68
4313141970       NW MS Master Account   2018/09/04   ZBA CREDIT TRANSFER            2,098.30
4313141970       NW MS Master Account   2018/09/05   ZBA CREDIT TRANSFER          369,316.97
4313141970       NW MS Master Account   2018/09/05   ZBA CREDIT TRANSFER            1,017.77
4313141970       NW MS Master Account   2018/09/05   ZBA CREDIT TRANSFER           93,055.15
4313141970       NW MS Master Account   2018/09/05   ZBA CREDIT TRANSFER              298.45
4313141970       NW MS Master Account   2018/09/05   ZBA CREDIT TRANSFER          107,695.83
4313141970       NW MS Master Account   2018/09/06   ZBA CREDIT TRANSFER           61,917.51
4313141970       NW MS Master Account   2018/09/06   ZBA CREDIT TRANSFER           60,533.36
4313141970       NW MS Master Account   2018/09/06   ZBA CREDIT TRANSFER           69,046.45
4313141970       NW MS Master Account   2018/09/07   ZBA CREDIT TRANSFER           42,983.38
4313141970       NW MS Master Account   2018/09/07   ZBA CREDIT TRANSFER               49.68
4313141970       NW MS Master Account   2018/09/07   ZBA CREDIT TRANSFER           26,975.85
4313141970       NW MS Master Account   2018/09/07   ZBA CREDIT TRANSFER            2,892.48
4313141970       NW MS Master Account   2018/09/10   ZBA CREDIT TRANSFER           28,749.40
4313141970       NW MS Master Account   2018/09/10   ZBA CREDIT TRANSFER            9,315.91
4313141970       NW MS Master Account   2018/09/10   ZBA CREDIT TRANSFER           48,487.58
4313141970       NW MS Master Account   2018/09/10   ZBA CREDIT TRANSFER            5,518.07
4313141970       NW MS Master Account   2018/09/11   ZBA CREDIT TRANSFER           62,843.54
4313141970       NW MS Master Account   2018/09/11   ZBA CREDIT TRANSFER            4,124.81
4313141970       NW MS Master Account   2018/09/11   ZBA CREDIT TRANSFER            1,587.21
4313141970       NW MS Master Account   2018/09/12   ZBA CREDIT TRANSFER          224,408.52

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4313141970     NW MS Master Account   2018/09/12 ZBA CREDIT TRANSFER      38,249.61
4313141970     NW MS Master Account   2018/09/12 ZBA CREDIT TRANSFER      51,869.96
4313141970     NW MS Master Account   2018/09/12 ZBA CREDIT TRANSFER      18,389.11
4313141970     NW MS Master Account   2018/09/12 ZBA CREDIT TRANSFER      99,050.92
4313141970     NW MS Master Account   2018/09/13 ZBA CREDIT TRANSFER      25,322.72
4313141970     NW MS Master Account   2018/09/13 ZBA CREDIT TRANSFER      93,171.34
4313141970     NW MS Master Account   2018/09/13 ZBA CREDIT TRANSFER     636,326.54
4313141970     NW MS Master Account   2018/09/14 ZBA CREDIT TRANSFER      53,355.47
4313141970     NW MS Master Account   2018/09/14 ZBA CREDIT TRANSFER           4.85
4313141970     NW MS Master Account   2018/09/14 ZBA CREDIT TRANSFER       2,511.06
4313141970     NW MS Master Account   2018/09/14 ZBA CREDIT TRANSFER         434.69
4313141970     NW MS Master Account   2018/09/14 ZBA CREDIT TRANSFER      56,982.08
4313141970     NW MS Master Account   2018/09/17 ZBA CREDIT TRANSFER      20,422.60
4313141970     NW MS Master Account   2018/09/17 ZBA CREDIT TRANSFER      12,651.27
4313141970     NW MS Master Account   2018/09/17 ZBA CREDIT TRANSFER      46,069.07
4313141970     NW MS Master Account   2018/09/17 ZBA CREDIT TRANSFER       7,913.82
4313141970     NW MS Master Account   2018/09/18 ZBA CREDIT TRANSFER       6,052.58
4313141970     NW MS Master Account   2018/09/18 ZBA CREDIT TRANSFER       6,285.55
4313141970     NW MS Master Account   2018/09/18 ZBA CREDIT TRANSFER       8,400.13
4313141970     NW MS Master Account   2018/09/18 ZBA CREDIT TRANSFER         668.18
4313141970     NW MS Master Account   2018/09/19 ZBA CREDIT TRANSFER      97,011.06
4313141970     NW MS Master Account   2018/09/19 ZBA CREDIT TRANSFER       8,200.62
4313141970     NW MS Master Account   2018/09/19 ZBA CREDIT TRANSFER      16,439.34
4313141970     NW MS Master Account   2018/09/19 ZBA CREDIT TRANSFER         279.11
4313141970     NW MS Master Account   2018/09/19 ZBA CREDIT TRANSFER         458.67
4313141970     NW MS Master Account   2018/09/20 ZBA CREDIT TRANSFER      68,201.81
4313141970     NW MS Master Account   2018/09/20 ZBA CREDIT TRANSFER      22,639.59
4313141970     NW MS Master Account   2018/09/20 ZBA CREDIT TRANSFER      98,413.34
4313141970     NW MS Master Account   2018/09/21 ZBA CREDIT TRANSFER     214,775.71
4313141970     NW MS Master Account   2018/09/21 ZBA CREDIT TRANSFER          66.37
4313141970     NW MS Master Account   2018/09/21 ZBA CREDIT TRANSFER     152,115.31
4313141970     NW MS Master Account   2018/09/21 ZBA CREDIT TRANSFER     262,143.29
4313141970     NW MS Master Account   2018/09/21 ZBA CREDIT TRANSFER      82,782.19
4313141970     NW MS Master Account   2018/09/21 ZBA CREDIT TRANSFER     390,968.91
4313141970     NW MS Master Account   2018/09/24 ZBA CREDIT TRANSFER      31,935.06
4313141970     NW MS Master Account   2018/09/24 ZBA CREDIT TRANSFER      22,002.09
4313141970     NW MS Master Account   2018/09/24 ZBA CREDIT TRANSFER       2,858.84
4313141970     NW MS Master Account   2018/09/24 ZBA CREDIT TRANSFER         875.66
4313141970     NW MS Master Account   2018/09/24 ZBA CREDIT TRANSFER         156.77
4313141970     NW MS Master Account   2018/09/25 ZBA CREDIT TRANSFER      27,449.58
4313141970     NW MS Master Account   2018/09/25 ZBA CREDIT TRANSFER       8,738.17
4313141970     NW MS Master Account   2018/09/25 ZBA CREDIT TRANSFER      61,901.67
4313141970     NW MS Master Account   2018/09/25 ZBA CREDIT TRANSFER       5,323.40
4313141970     NW MS Master Account   2018/09/26 ZBA CREDIT TRANSFER      79,771.61
4313141970     NW MS Master Account   2018/09/26 ZBA CREDIT TRANSFER         528.07
4313141970     NW MS Master Account   2018/09/26 ZBA CREDIT TRANSFER      64,973.90
4313141970     NW MS Master Account   2018/09/26 ZBA CREDIT TRANSFER         782.00
4313141970     NW MS Master Account   2018/09/26 ZBA CREDIT TRANSFER          41.45
4313141970     NW MS Master Account   2018/09/27 ZBA CREDIT TRANSFER      38,271.92
4313141970     NW MS Master Account   2018/09/27 ZBA CREDIT TRANSFER          98.85
4313141970     NW MS Master Account   2018/09/27 ZBA CREDIT TRANSFER      32,153.92
4313141970     NW MS Master Account   2018/09/27 ZBA CREDIT TRANSFER         474.00
4313141970     NW MS Master Account   2018/09/27 ZBA CREDIT TRANSFER      69,485.02
4313141970     NW MS Master Account   2018/09/27 ZBA CREDIT TRANSFER          88.28
4313141970     NW MS Master Account   2018/09/28 ZBA CREDIT TRANSFER      71,444.95
4313141970     NW MS Master Account   2018/09/28 ZBA CREDIT TRANSFER       2,962.56
4313141970     NW MS Master Account   2018/09/28 ZBA CREDIT TRANSFER     142,554.68
4313141970     NW MS Master Account   2018/09/28 ZBA CREDIT TRANSFER       1,900.11
4313141970     NW MS Master Account   2018/09/28 ZBA CREDIT TRANSFER      66,245.38
4313141970     NW MS Master Account        43336 ZBA CREDIT TRANSFER      39,330.12
4313141970     NW MS Master Account        43336 ZBA CREDIT TRANSFER      17,407.63
4313141970     NW MS Master Account        43336 ZBA CREDIT TRANSFER       7,558.32
4313141970     NW MS Master Account        43336 ZBA CREDIT TRANSFER       3,717.56
4313141970     NW MS Master Account        43336 ZBA CREDIT TRANSFER      18,352.12
4313141970     NW MS Master Account        43336 ZBA CREDIT TRANSFER         152.59
4313141970     NW MS Master Account        43336 ZBA CREDIT TRANSFER      22,891.20
4313141970     NW MS Master Account        43336 ZBA CREDIT TRANSFER         640.60
4313141970     NW MS Master Account        43336 ZBA CREDIT TRANSFER      44,495.20
4313141970     NW MS Master Account        43339 ZBA CREDIT TRANSFER      25,087.49
4313141970     NW MS Master Account        43339 ZBA CREDIT TRANSFER      16,260.29
4313141970     NW MS Master Account        43339 ZBA CREDIT TRANSFER      13,900.67
4313141970     NW MS Master Account        43339 ZBA CREDIT TRANSFER       6,616.43
4313141970     NW MS Master Account        43339 ZBA CREDIT TRANSFER      82,155.83
4313141970     NW MS Master Account        43339 ZBA CREDIT TRANSFER       5,836.76
4313141970     NW MS Master Account        43339 ZBA CREDIT TRANSFER      48,670.20
4313141970     NW MS Master Account        43339 ZBA CREDIT TRANSFER         961.60
4313141970     NW MS Master Account        43339 ZBA CREDIT TRANSFER      46,730.95
4313141970     NW MS Master Account        43340 ZBA CREDIT TRANSFER      20,721.24
4313141970     NW MS Master Account        43340 ZBA CREDIT TRANSFER      11,007.87
4313141970     NW MS Master Account        43340 ZBA CREDIT TRANSFER       9,271.27
4313141970     NW MS Master Account        43340 ZBA CREDIT TRANSFER       4,028.28
4313141970     NW MS Master Account        43340 ZBA CREDIT TRANSFER       2,163.73
4313141970     NW MS Master Account        43340 ZBA CREDIT TRANSFER       3,240.08
4313141970     NW MS Master Account        43340 ZBA CREDIT TRANSFER       5,400.61
4313141970     NW MS Master Account        43340 ZBA CREDIT TRANSFER         625.92
4313141970     NW MS Master Account        43340 ZBA CREDIT TRANSFER      47,858.11
4313141970     NW MS Master Account        43340 ZBA CREDIT TRANSFER      18,345.10
4313141970     NW MS Master Account        43341 ZBA CREDIT TRANSFER      13,514.46
4313141970     NW MS Master Account        43341 ZBA CREDIT TRANSFER       3,474.81
4313141970     NW MS Master Account        43341 ZBA CREDIT TRANSFER       2,602.12
4313141970     NW MS Master Account        43341 ZBA CREDIT TRANSFER         720.48
4313141970     NW MS Master Account        43341 ZBA CREDIT TRANSFER     115,700.13
4313141970     NW MS Master Account        43341 ZBA CREDIT TRANSFER       9,892.64
4313141970     NW MS Master Account        43341 ZBA CREDIT TRANSFER      38,251.86
4313141970     NW MS Master Account        43341 ZBA CREDIT TRANSFER      25,081.67
4313141970     NW MS Master Account        43342 ZBA CREDIT TRANSFER      13,892.65
4313141970     NW MS Master Account        43342 ZBA CREDIT TRANSFER       8,320.13
4313141970     NW MS Master Account        43342 ZBA CREDIT TRANSFER       2,646.46
4313141970     NW MS Master Account        43342 ZBA CREDIT TRANSFER       1,113.26
4313141970     NW MS Master Account        43342 ZBA CREDIT TRANSFER      68,432.05

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4313141970      NW MS Master Account             43342 ZBA CREDIT TRANSFER         5,801.06
4313141970      NW MS Master Account             43342 ZBA CREDIT TRANSFER        36,193.60
4313141970      NW MS Master Account             43342 ZBA CREDIT TRANSFER           525.97
4313141970      NW MS Master Account             43342 ZBA CREDIT TRANSFER        13,162.34
4313141970      NW MS Master Account             43343 ZBA CREDIT TRANSFER         9,414.18
4313141970      NW MS Master Account             43343 ZBA CREDIT TRANSFER         4,440.56
4313141970      NW MS Master Account             43343 ZBA CREDIT TRANSFER         2,978.69
4313141970      NW MS Master Account             43343 ZBA CREDIT TRANSFER           433.49
4313141970      NW MS Master Account             43343 ZBA CREDIT TRANSFER        42,697.68
4313141970      NW MS Master Account             43343 ZBA CREDIT TRANSFER        19,629.01
4313141970      NW MS Master Account             43343 ZBA CREDIT TRANSFER        48,139.14
4313141970      NW MS Master Account             43343 ZBA CREDIT TRANSFER         2,907.28
4313141970      NW MS Master Account             43343 ZBA CREDIT TRANSFER        93,362.67
4313141970      NW MS Master Account             43336 BOOK TRANSFER DEBIT      -705,117.07
4313141970      NW MS Master Account             43339 BOOK TRANSFER DEBIT      -154,545.34
4313141970      NW MS Master Account             43340 BOOK TRANSFER DEBIT      -246,220.22
4313141970      NW MS Master Account             43343 BOOK TRANSFER DEBIT      -481,987.90
4313141970      NW MS Master Account        2018/09/04 BOOK TRANSFER DEBIT      -224,002.70
4313141970      NW MS Master Account        2018/09/05 BOOK TRANSFER DEBIT      -148,906.71
4313141970      NW MS Master Account        2018/09/06 BOOK TRANSFER DEBIT      -624,409.07
4313141970      NW MS Master Account        2018/09/07 BOOK TRANSFER DEBIT      -217,083.28
4313141970      NW MS Master Account        2018/09/10 BOOK TRANSFER DEBIT      -170,119.21
4313141970      NW MS Master Account        2018/09/11 BOOK TRANSFER DEBIT      -150,761.22
4313141970      NW MS Master Account        2018/09/12 BOOK TRANSFER DEBIT      -118,728.00
4313141970      NW MS Master Account        2018/09/13 BOOK TRANSFER DEBIT      -477,147.41
4313141970      NW MS Master Account        2018/09/14 BOOK TRANSFER DEBIT      -778,811.10
4313141970      NW MS Master Account        2018/09/17 BOOK TRANSFER DEBIT      -170,862.59
4313141970      NW MS Master Account        2018/09/18 BOOK TRANSFER DEBIT      -145,448.97
4313141970      NW MS Master Account        2018/09/19 BOOK TRANSFER DEBIT      -121,710.75
4313141970      NW MS Master Account        2018/09/20 BOOK TRANSFER DEBIT      -173,106.97
4313141970      NW MS Master Account        2018/09/21 BOOK TRANSFER DEBIT      -199,767.25
4313141970      NW MS Master Account        2018/09/24 BOOK TRANSFER DEBIT    -1,136,207.75
4313141970      NW MS Master Account        2018/09/25 BOOK TRANSFER DEBIT       -93,095.37
4313141970      NW MS Master Account        2018/09/26 BOOK TRANSFER DEBIT      -192,784.16
4313141970      NW MS Master Account        2018/09/27 BOOK TRANSFER DEBIT      -166,272.67
4313141970      NW MS Master Account        2018/09/28 BOOK TRANSFER DEBIT      -159,098.73
4313141970      NW MS Master Account        2018/09/06 ZBA DEBIT TRANSFER            -36.13
 Net Total                                                                      -401,970.51


Account      Entity                     Disbursement
4313141996   Wells Operating             $ (9,392,367)
1110192737   ServisFirst Operating       $ 7,089,233
1110192760   ServisFirst Accounts Payable$ 2,307,896
1110192752   ServisFirst Payroll         $        900
4313141970   Wells - Master Account      $ (401,971)



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                                                    COMPARATIVE BALANCE SHEETS
CASE NAME: Curae Health, Inc.                                                                             FORM OPR-1
                                                                                                                       REV 10/2004
CASE NUMBER: 18-05665           MONTH ENDED: September 2018

                                                                       8.24.2018           9.30.18
                                         Cash                        $ 1,687,546       $   1,607,228
                                         A/R, Gross                  $     123,034     $      66,720
                                         A/R Adjustments             $     (34,126)    $     (25,146)
                                          Net A/R                    $      88,908     $      41,574
                                         Prepaid                     $     643,009     $     911,994
                                         Net Equipment               $     361,228     $     351,863
                                         Other                       $     252,292     $      45,014
                                          Total Assets               $ 3,032,983       $   2,957,672

                                         Prepetition Liabilities
                                         A/P                         $    1,589,659    $ 1,315,140
                                         Accrued Expenses            $    1,482,137    $ 1,430,479
                                         Interest                    $          -      $        -
                                         Other                       $    1,070,368    $ 1,070,368
                                         Debt                        $       83,490    $     83,490
                                         Intercompany                $   (9,328,891)   $ (9,328,891)
                                                                     $   (5,103,237)   $ (5,429,413)
                                         Post Petition Liabilities
                                         A/P                         $        -        $ 264,273
                                         Accrued Expenses            $        -        $ (261,780)
                                         Interest                    $        -        $   93,402
                                         Other                       $        -        $ (217,628)
                                         Debt                        $        -        $   (2,938)
                                         Intercompany                $        -        $ 923,988
                                          Total Liabilities          $ (5,103,237)     $ 799,318

                                         Equity                      $ 8,136,220       $ 7,587,768

                                         Total Liabilities & Equity $ 3,032,983        $ 2,957,672

* Itemize on separate page if value of "Other Assets" exceeds 10% of "Total Assets".


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                                                                 COMPARATIVE BALANCE SHEETS


                                                                 SUMMARY OF ACCOUNTS RECEIVABLE

CASE NAME: Curae Health, Inc.                                                                           FORM OPR-3
                                                                                                                              REV 10/2004
CASE NUMBER: 18-05665                        MONTH ENDED: September 30, 2018


                                                                     0-30        31-60        61-90          OVER
                                               TOTAL                 DAYS        DAYS          DAYS         90 DAYS


DATE OF FILING: 8.24.18                      $88,098             $88,098

 Allowance for doubtful accounts         {         0       }     {    0         {            {             {              }

MONTH: September 2018                        $41,754             $41,754

 Allowance for doubtful accounts         {0                }     {0          {            {             {             }


MONTH: ______________________________

 Allowance for doubtful accounts         {                }     {           {            {             {              }


MONTH: ______________________________

 Allowance for doubtful accounts         {                }     {           {            {             {              }


MONTH: ______________________________

 Allowance for doubtful accounts         {                }     {           {            {             {              }


MONTH: ______________________________

 Allowance for doubtful accounts         {                }     {           {            {             {              }


MONTH: ______________________________

  Allowance for doubtful accounts       {           }     {           {           {           {           }
NOTE: Total A/R and total allowance for doubtful accounts shown here must agree with the same items as shown on Form OPR-1.


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                                                   SCHEDULE OF POST PETITION LIABILITIES

CASE NAME: Curae Health, Inc.                                                                                 FORM OPR-4
                                                                                                                                  REV 10/2004
CASE NUMBER: 18-05665                        MONTH ENDED: September 2018


                                               DATE           DATE          TOTAL           0-30        31-60           61-90      OVER
                                             INCURRED         DUE            DUE            DAYS         DAYS            DAYS     90 DAYS
TAXES PAYABLE
  Federal Income Tax

 FICA

 Unemployment Tax

 Sales Tax

 Personal Property Tax

   TOTAL TAXES PAYABLE

POSTPETITION SECURED DEBT

POSTPETITION UNSECURED DEBT

ACCRUED INTEREST PAYABLE


TRADE ACCOUNTS PAYABLE & OTHER:
  (list separately)*
                                                 Date             Due               Total              0-30             31-60           61-90
                                               Incurred           Date              Due                Days             Days            Days

3M HEALTH INFORMATION SYSTEMS                  8/24/2018        9/23/2018       35,853.29          -                35,853.29       -           -

3M HEALTH INFORMATION SYSTEMS                  8/24/2018        8/24/2018       (53,710.04)        -                (53,710.04)     -           -

CHANGE HEALTHCARE SOLUTIONS, LLC               8/31/2018        9/30/2018       5,056.00           5,056.00         -               -           -

HS2 SOLUTIONS, INC.                            8/31/2018        9/30/2018       376.53             376.53           -               -           -

HS2 SOLUTIONS, INC.                            8/31/2018        9/30/2018       337.58             337.58           -               -           -

HS2 SOLUTIONS, INC.                            8/31/2018        9/30/2018       370.96             370.96           -               -           -

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CHANGE HEALTHCARE                             8/31/2018         10/5/2018     77,207.07        77,207.07     -   -   -

CHANGE HEALTHCARE                             8/31/2018         10/5/2018     6,750.00         6,750.00      -   -   -

CATE-RUSSELL INSURANCE                         9/1/2018         10/1/2018     11,382.00        11,382.00     -   -   -

CATE-RUSSELL INSURANCE                         9/1/2018         10/1/2018     94,260.97        94,260.97     -   -   -

STAPLES BUSINESS ADVANTAGE                     9/1/2018        10/31/2018     403.25           403.25        -   -   -

STAPLES BUSINESS ADVANTAGE                     9/1/2018        10/31/2018     117.04           117.04        -   -   -

CHS DBA/SHARED SERVICES CENTER-FORT SMITH      9/1/2018         10/1/2018     55,140.95        55,140.95     -   -   -

KRONOS                                         9/3/2018         10/3/2018     5,019.67         5,019.67      -   -   -

REHAB RESOURCES & CONSULTING, INC.            9/10/2018        10/10/2018     7,942.95         7,942.95      -   -   -

REHAB RESOURCES & CONSULTING, INC.            9/10/2018        10/10/2018     5,941.83         5,941.83      -   -   -

HEALTH STREAM INC.                            9/13/2018        10/13/2018     1,684.70         1,684.70      -   -   -

PITNEY BOWES                                  9/13/2018        10/12/2018     178.00           178.00        -   -   -

ACCOUNTEMPS                                   9/18/2018         9/18/2018     188.00           188.00        -   -   -

BAKER DONELSON                                9/18/2018         9/18/2018     135.00           135.00        -   -   -

BAKER DONELSON                                9/18/2018         9/18/2018     405.00           405.00        -   -   -

BARRACUDA NETWORKS, INC.                      9/18/2018        10/18/2018     2,631.85         2,631.85      -   -   -

ECLINICALWORKS LLC                            9/18/2018         9/18/2018     (25.65)          (25.65)       -   -   -

ACCOUNTEMPS                                   9/19/2018         9/19/2018     188.00           188.00        -   -   -

FLEXENTIAL                                    9/20/2018        10/20/2018     760.00           760.00        -   -   -

FIRST CHOICE HEALTH PLAN OF MS                9/21/2018         9/21/2018     100.00           100.00        -   -   -

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SHRED-IT USA-NEW YORK                        9/22/2018        10/22/2018     219.74           219.74        -        -   -

SHRED-IT USA-NEW YORK                        9/22/2018        10/22/2018     109.87           109.87        -        -   -

PITNEY BOWES                                 9/24/2018        10/21/2018     601.00           601.00        -        -   -

ACCOUNTEMPS                                  9/25/2018         9/25/2018     865.74           865.74        -        -   -

ACCOUNTEMPS                                  9/25/2018         9/25/2018     940.00           940.00        -        -   -

ACCOUNTEMPS                                  9/25/2018         9/25/2018     188.00           188.00        -        -   -

ACCOUNTEMPS                                  9/25/2018         9/25/2018     940.00           940.00        -        -   -

ACCOUNTEMPS                                  9/25/2018         9/25/2018     940.00           940.00        -        -   -

BMC OFFICE TECHNOLOGY                        9/25/2018        10/10/2018     589.28           589.28        -        -   -

PITNEY BOWES                                 9/27/2018        10/27/2018     184.92           184.92        -        -   -


Total                                                                        264,273.50

NOTE:   Total postpetition liabilities shown here must agree with the same item as shown on Form OPR-2 of this report.




                                                   STATEMENT OF INCOME (LOSS)



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CASE NAME: Curae Health, Inc.                                                                   FORM OPR-5
                                                                                                                 REV 10/2004
CASE NUMBER: 18-05665                        MONTH ENDED: September 2018
                                                                            8/24/18 to
                                                                            9/30/2018
                                               REVENUE
                                               Total Gross Revenue                       -

                                               DEDUCTIONS
                                               Total Deductions                          -

                                               Net Patient Revenue                       -
                                               Other Revenue                             -
                                               Total Operating Revenues                  -

                                               OPERATING EXPENSES
                                               Salaries & Contract Labor           515,308
                                               Employee Benefits                     5,206
                                               Professional Fees                       -
                                               Contract Services                  (278,225)
                                               Supplies and Other                    2,374
                                               Repairs & Maint                     (37,992)
                                               Rents & Leases                       26,068
                                               Telephone & Utilities                   -
                                               Insurance                                 0
                                               Taxes & Assessments                     -
                                               Other operating                     136,453
                                               Total Operating Exp                 369,192

                                               EBITDA                             (369,192)
                                               CAPITAL & NON-OPER
                                               Other (Gain)/Loss                        60
                                               Depreciation & Amort                 11,706
                                               Interest Expense                    168,076
                                               Management Fees                          (0)
                                               Total Capital/Other                 179,842

                                               Excess of Rev                      (549,034)




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